                                                                          Number";
   Case 2:22-cv-00184-LCB-CWB Document 69-5 Filed 05/02/22       cMsg  = app.response(cAsk);
                                                              Page 1 of 100
                                                                     event.value = cMsg;
                                                                         DEFENDANT'S
                                                                           EXHIBIT


                   UNITED STATES DISTRICTCOURT
                                                                              5
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

REV. PAUL A. EKNES-TUCKER; )
BRIANNA BOE, individually and on )
behalf of her minor son, MICHAEL )
BOE; JAMES ZOE, individually and )
on behalf of his minor son,            )   CIVIL ACTION #
ZACHARY ZOE; MEGAN POE,                )   2:22-cv-00184-LCB-SRW
individually and on behalf of her      )
minor daughter, ALLISON POE;           )
KATHY NOE, individually and on )
behalf of her minor son,               )   Expert Report of Paul W. Hruz,
CHRISTOPHER NOE; JANE MOE, )               M.D., Ph.D.
Ph.D; and RACHEL KOE, M.D.             )
                                       )
                           Plaintiffs, )
v.                                     )
                                       )
KAY IVEY, in her official capacity )
As Governor of the State of Alabama; )
STEVE MARSHALL, in his official )
capacity as Attorney General of the )
State of Alabama; DARYL D.             )
BAILEY, in his official capacity as )
District Attorney for Montgomery       )
County; C. WILSON BAYLOCK, in )
his official capacity as District      )
Attorney for Cullman County;           )
JESSICA VENTIERE, in her official )
capacity as District Attorney for Lee )
County; TOM ANDERSON in his            )
official capacity as District Attorney )
for the 12th Judicial Circuit; and     )
DANNY CARR, in his official            )
Capacity as District Attorney for      )
Jefferson County.                      )
                           Defendants )
_______________________________)
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Pursuant to 28 U.S.C. 1746, I declare:

      1.    RETAINED AS EXPERT WITNESS - VITAE: I have been retained by counsel for

Defendants as an expert witness in connection with the above-captioned litigation. I have actual

knowledge of the matters stated in this declaration. My professional background, experience,

and publications are detailed in my curriculum vitae. A true and accurate copy of my CV is at-

tached as Exhibit A to this declaration.

      2.    EDUCATION - ACADEMIC APPOINTMENTS: I received my Doctor of Philoso-

phy degree from the Medical College of Wisconsin in 1993. I received my Medical Degree from

the Medical College of Wisconsin in 1994. I am an Associate Professor of Pediatrics in the Divi-

sion of Pediatric Endocrinology and Diabetes at Washington University School of Medicine. I

also have a secondary appointment as Associate Professor of Cellular Biology and Physiology in

the Division of Biology and Biological Sciences at Washington University School of Medicine.

I served as Chief of the Division of Pediatric Endocrinology and Diabetes at Washington Univer-

sity from 2012-2017. I served as the Director of the Pediatric Endocrinology Fellowship Pro-

gram at Washington University from 2008-2016. I am currently serving as Associate Fellowship

Program Director at Washington University in St. Louis.

      3.    HISTORY OF BOARD CERTIFICATIONS: I am board certified in Pediatrics and

Pediatric Endocrinology. I have been licensed to practice medicine in Missouri since 2000. I

also have a temporary license to practice telemedicine in Illinois during the COVID-19 pan-

demic. My professional memberships include the American Diabetes Association, the Pediatric

Endocrine Society, and the Endocrine Society.

      4.    SCIENTIFIC PUBLICATIONS IN PEER REVIEWED JOURNALS: I have pub-

lished 60 scholarly articles over my academic career spanning over two decades. This includes




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peer-reviewed publications in the leading journals in the fields of metabolism, cardiology, HIV,

and ethics including the Gastroenterology, Circulation, Diabetes, Science Signaling, the Journal

of Biological Chemistry and FASEB Journal. See my current Curriculum Vitae attached as Ex-

hibit A.

      5.    EDITORIAL DUTIES - RESEARCH GRANTS: I have served as a Reviewer for a

number of leading science journals in relevant fields including the Journal of Clinical Endocri-

nology and Metabolism, the Journal of Biological Chemistry, Diabetes, Scientific Reports and

PlosOne. I have received over 4.6 million dollars in governmental and non-governmental fund-

ing for scientific research including grants from the National Institutes of Health, the American

Diabetes Association, The American Heart Association, the March of Dimes, and the Harrington

Discovery Institute. I am a member of the Alpha Omega Alpha Medical Honor Society and have

received the Armond J. Quick Award for Excellence in Biochemistry, the Eli Lilly Award for

Outstanding Contribution to Drug Discovery, and the Julio V. Santiago Distinguished Scholar in

Pediatrics Award.

      6.    CLINICAL EXPERIENCE: During the more than 20 years that I have been in clini-

cal practice, I have participated in the care of hundreds of infants and children, including adoles-

cents, with disorders of sexual development. I was a founding member of the multidisciplinary

Disorders of Sexual Development (DSD) program at Washington University. I continue to con-

tribute to the discussion of complex cases and the advancement of research priorities in this field.

In the care of these patients, I have acquired expertise in the understanding and management of

associated difficulties in gender identification and gender transitioning treatment issues. I have

trained and/or supervised hundreds of medical students, residents and clinical fellows in the prac-

tice of medicine.




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      7.    PREVIOUS LEGAL CASES AS AN EXPERT WITNESS: Related to the litigation

of issues of sex and gender, I have been designated as an expert witness in Joaquín Carcaño et al

vs. Patrick McCrory (United States District Court, M.D. North Carolina), Jane Doe vs Board of

Education of the Highland School District (United States District Court For the Southern District

of Ohio Eastern Division, Case No. 2:16-CV-524), Ashton Whitaker vs. Kenosha Unified School

District (United States District Court Eastern District of Wisconsin, Civ. Action No. 2:16-cv-

00943), Adams vs. the School Board of St. John’s County (United States District Court Middle

District Of Florida Jacksonville Division, Case No. 3:17-cv-739-J-32JBT), Terri Bruce vs State

of South Dakota (The United States District Court District of South Dakota Western Division,

Case No. 17-5080), Kadel vs. Falwell (The United States District Court For The Middle District

Of North Carolina, Case No.: 1:19-cv-272-LCB-LPA), Brandt v Rutledge (The United States

District Court Eastern District of Arkansas Central Division, Case No. 4:21-CV-00450-JM), and

Cause DF-15-09887-SD of the 255th Judicial Circuit of Dallas County, TX regarding the dispute

between J.A. D.Y. and J.U. D.Y., Children. Only in the last case did I testify at trial. I have also

served as a science consultant or subjected written testimony for court cases in Canada (B.C. Su-

preme Court File No. E190334) and Great Britain (Bell v Tavistock).

      8.    COMPENSATION: I am being compensated at an hourly rate for actual time de-

voted, at the rate of $400 per hour including report drafting, travel, testimony, and consultation.

My compensation does not depend on the outcome of this litigation, the opinions I express, or

the testimony I provide.

      9.    CONSULTS-DISCUSSIONS REGARDING THE RELEVANT SCIENCE and

CLINICAL ISSUES: In my role as a scientist and as the Director of the Division of Pediatric

Endocrinology at Washington University, I extensively studied the existing scientific research




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literature related to the incidence, potential etiology, and treatment of gender dysphoria as efforts

were made to develop a Transgender Medicine Clinic at Saint Louis Children’s Hospital. I have

participated in local and national meetings where the endocrine care of children with gender dys-

phoria has been discussed in detail and debated in depth. I have met individually and consulted

with several pediatric endocrinologists (including Dr. Norman Spack) and other professionals

specializing in sexual health (including Eli Coleman) who have developed and led transgender

programs in the United States. I have also consulted with, met with, and had detailed discussions

with dozens of parents of children with gender dysphoria to understand the unique difficulties

experienced by this patient population. I continue to evaluate the ongoing experimental investi-

gation of this condition. I am frequently consulted by other medical professionals to help them

understand the complex medical and ethical issues related to this emerging field of medicine.

      10.   In my opinion, there is a serious lack of quality scientific evidence regarding the

safety and efficacy of gender affirming medical interventions for individuals who exercise sex

discordant gender identity. Use of such medical interventions remains a highly controversial and

largely experimental approach.

            Pediatric patients referred to our practice for the evaluation and treatment of gender

dysphoria are cared for by an interdisciplinary team of providers that includes a psychologist and

pediatric endocrinologist who have been specifically chosen for this role based upon a special

interest and professional knowledge and training in this rare patient population. Due to the docu-

mented, important, ethical concerns regarding the safety, efficacy, and scientific validity of con-

troversial, unproven, and experimental treatment paradigms, I have not personally engaged in the

delivery of gender affirming medical interventions to children with gender dysphoria. Given the




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unproven long-term benefits and the well-documented risks and harms of “transitioning” chil-

dren, I decline to participate in such experimental treatments until the science has proven that the

relative risks and benefits of this approach warrant such procedures.

            My decision is strengthened by the knowledge that the vast majority of children who

report gender dysphoria will, if left untreated, grow out of the problem — a natural coping-de-

velopmental process — and willingly accept their biological sex. Despite differences in coun-

try, culture, decade, follow-up length and method, multiple studies have come to a remarkably

similar conclusion: Very few gender dysphoric children still want to transition by the time they

reach adulthood. Many turn out to have been struggling with sexual orientation issues rather

than Gender Discordant “transgender” identity. The exact number of children who experience

realignment of gender identity with biological sex by early adult life varies by study. Estimates

within the peer reviewed published literature range from 50-98%, with most reporting desistance

in approximately 85% of children prior to the widespread adoption of the “gender affirmation

only” approach. Thus, desistance (i.e., the child accepting their natal, biological sex identity and

declining “transitioning” treatments) is the outcome for the vast majority of affected children

who are not actively encouraged to proceed with sex-discordant gender affirmation. Since there

are no reliable assessment methods for identifying the small percentage of children with persist-

ing sex-gender identity discordance from the vast majority who will accept their biological sex,

and since puberty blocking treatments, hormone transition treatments, and surgical transition

treatments are all known to have potentially life-long devastating, negative effects on patients, I

and many colleagues view it as unethical to treat children with an unknown future by using ex-

perimental, aggressive, and intrusive gender affirming medical interventions. See J. Cantor,




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Ph.D. summary of multiple research studies at http://www.sexologytoday.org/2016/01/do-trans-

kids-stay-trans-when-they-grow_99.html, and other publications reviewed in detail below).

       11.       PEER-REVIEWED, PUBLISHED RESEARCH IN CREDIBLE SCIENCE-

MEDICAL JOURNALS: My opinions as detailed in this declaration are based upon my

knowledge and direct professional experience in the subject matters discussed. The materials

that I have relied upon are the same types of materials that other experts in my field of clinical

practice rely upon when forming opinions on the subject including hundreds of published, peer

reviewed scientific research (and professional) articles. As discussed in detail in this declaration,

the extant published literature on the use of puberty blockers, cross-sex hormones and gender af-

firming surgeries are based, almost entirely, upon studies with major methodological limitations

(see Hruz, P. W. Deficiencies in Scientific Evidence for Medical Management of Gender

Dysphoria. Linacre Q 87, 34-42, doi:10.1177/0024363919873762 (2020). This includes:


                Significant recruitment biases including internet based convenience sampling

                Relatively small sample sizes for addressing a condition that is likely to be multi-

                 factorial

                Short term follow up

                Lack of randomization to different treatment arms

                Failure to even consider alternate hypotheses

                Failure to include proper control groups and, in many studies NO control group at

                 all

                Reliance on cross sectional sampling that may identify associations, but cannot

                 establish causal relationships between intervention and outcome.




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               A high rate of patients lost to follow up in longitudinal analyses which is relevant

                to questions of regret, desistance and completed suicide.

               Biased interpretation of study findings with a goal of validating a priori conclu-

                sions rather than seeking evidence to disprove the null hypothesis

               Ignoring starkly contradictory research documenting the lack of effectiveness of

                “transitioning” procedures, the low quality of research in this area, and the ongo-

                ing contentions and disagreements over this highly controversial, experimental

                medical field

      12.   PUBLIC DISCLOSURES OF THE METHODOLOGICAL FAILURES OF GEN-

DER TRANSITIONING MEDICAL INTERVENTIONS: In addition to peer reviewed pub-

lished research articles related to gender affirming medical interventions (see specific citations

below), I also cite a wide variety of evidence documenting the recent, very public, disclosures of

the multiple and serious methodological errors, failures, and defects of “transitioning treat-

ment” research. Specific examples include:

            THE BRANSTROM LONG-TERM TREATMENT OUTCOME STUDY: The his-

toric Branstrom report is a peer reviewed, published, scientific journal article that documents a

long-term treatment (10+ years) outcome research investigation testing the effects of hormonal

and surgical “transitioning” treatments on patients. This historic research found no reliable ben-

efits from these disfiguring-sterilizing “treatments” as well as evidence suggesting increased su-

icide attempts and anxiety disorders following the “gender transitioning” treatments. In addi-

tion, detailed methodological critiques discovered significant research errors by the authors that

appear to support the investigative theory that the authors had initially attempted to manipulate




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and misreport the findings of the study. (See, very detailed notes and review below with multi-

ple citations). The authors ultimately recanted their initial misreporting and agreed that their

study produced no reliable evidence of benefits for gender reassignment hormone and surgical

treatments. The Branstrom study is truly a devastating and historic blow to the WORLD PRO-

FESSIONAL ASSOCIATION FOR TRANSGENDER HEALTH’s (WPATH) “treatment guide-

lines” and to the financially lucrative transgender “transitioning” treatment industry. Together

with other evidence, this historic investigation has helped to generate a profound collapse of sup-

port for these experimental procedures across Europe. See Correction of a Key Study: No Evi-

dence of “Gender-Affirming” Surgeries Improving Mental Health. https://segm.org/ajp_correc-

tion_2020. Accessed 29 June 2021. , Van Mol, A., Laidlaw, M., Grossman, M., & McHugh, P.

(2020). Gender-Affirmation Surgery Conclusion Lacks Evidence. Am. J. Of Psych., 177(8), 765-

766. (see detailed review below).

            NATIONAL FINLAND REVIEW RECOMMENDS SUSPENDING TRANSITION-

ING TREATMENTS FOR CHILDREN AS EXPERIMENTAL and of UNCERTAIN BENE-

FIT: A National Science Review in FINLAND carefully examined all relevant science and sus-

pended transition treatments for minors under age 16. See One Year Since Finland Broke with

WPATH “Standards of Care.” https://segm.org/Finland_devites_from_WPATH_prioritiz-

ing_psychotherapy_no_surgery_for_minors. The official review recommends that psychother-

apy should be the first line of treatment for gender dysphoric youth. See 2020 Recommendation

of the Council for Choices in Health Care in Finland (PALKO / COHERE Finland) Medical

Treatment Methods for Dysphoria Related to Gender Variance In Minors, “Cross-sex identifica-

tion in childhood, even in extreme cases, generally disappears during puberty…. The first-line

treatment for gender dysphoria is psychosocial support and, as necessary, psychotherapy and



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treatment of possible comorbid psychiatric disorders. … No gender confirmation surgeries are

performed on minors.” … “Potential risks of GnRH therapy include disruption in bone minerali-

zation and the as yet unknown effects on the central nervous system”… “there are no medical

treatments (for transitioning) that can be considered evidence-based… In cases of children and

adolescents, ethical issues are concerned with the natural process of adolescent identity develop-

ment, and the possibility that medical interventions may interfere with this process. It has been

suggested that hormone therapy (e.g., pubertal suppression) alters the course of gender identity

development; i.e., it may consolidate a gender identity that would have otherwise changed in

some of the treated adolescents. The reliability of the existing studies with no control groups is

highly uncertain, and because of this uncertainty, no decisions should be made that can perma-

nently alter a still-maturing minor’s mental and physical development…. A lack of recognition

of comorbid psychiatric disorders common among gender-dysphoric adolescents can also be det-

rimental. Since reduction of psychiatric symptoms cannot be achieved with hormonal and surgi-

cal interventions, it is not a valid justification for gender reassignment. A young person’s iden-

tity and personality development must be stable so that they can genuinely face and discuss their

gender dysphoria, the significance of their own feelings, and the need for various treatment op-

tions. For children and adolescents, these factors are key reasons for postponing any interven-

tions until adulthood…. In light of available evidence, gender reassignment of minors is an ex-

perimental practice.” See One Year Since Finland Broke with WPATH “Standards of

Care.” https://segm.org/Finland_devites_from_WPATH_prioritizing_psychotherapy_no_sur-

gery_for_minors.




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           SWEDEN’S FLAGSHIP KAROLINSKA HOSPTIAL SUSPENDS TRANSITION-

ING TREATMENTS FOR CHILDREN UNDER 16 AND REQUIRES RESEARCH OVER-

SIGHT FOR PATIENTS UNDER 18: In Sweden, the world-renowned Karolinska Hospital re-

viewed the current research and suspended pediatric gender transitions for patients under 16 out-

side of experimental, monitored clinical trials settings as of May 2021. Treatment will focus on

psychotherapy and assessment. See Sweden’s Karolinska Ends All Use of Puberty Blockers and

Cross-Sex Hormones for Minors Outside of Clinical Studies. https://segm.org/Swe-

den_ends_use_of_Dutch_protocol. See also, Karolinska Policy Change K2021-3343 March

2021 (in English).pdf; Karolinska Hospital Ends the Use of Puberty Blockers for patients under

16: New policy statement from the Karolinska Hospital. The “Dutch protocol” for treating gen-

der dysphoric minors has been discontinued over concerns of medical harm and uncertain bene-

fits. This new Swedish policy is consistent with Finland’s recently revised guidelines and

changes in England’s policies as well as the Arkansas legislation in the U.S. All have been

changed to prioritize psychological interventions and social support in contrast to medical inter-

ventions, particularly for youth with no young childhood history of gender dysphoria (presently

the most common patient presentation)” See Society for Evidence Based Gender Medicine Press

Release at https://segm.org/Sweden_ends_use_of_Dutch_protocol and Karolinska Policy

Change K2021-3343 March 2021 (English, unofficial translation).pdf Karolinska Guideline

K2021-4144 April 2021 (English, unofficial translation).pdf

           SWEDEN National review documents the lack of quality research in this controver-

sial field. See Sweden Policy Review, Gender dysphoria in children and adolescents: an inven-

tory of the literature, SBU Policy Support no 307, 2019 (https://www.sbu.se/307e ) “This report




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was commissioned by the Swedish government and is a scoping review of the literature on gen-

der dysphoria in children and adolescents. The report can be a basis for further evaluation of risk

of bias and evidence.”…” The Swedish national review reported: “No relevant randomized con-

trolled (treatment outcome) trials in children and adolescents were found.” The review also re-

ported … “Conclusions: — We have not found any scientific studies which explains the in-

crease in incidence in children and adolescents who seek the heath care because of gender dys-

phoria — We have not found any studies on changes in prevalence of gender dysphoria over

calendar time, nor any studies on factors that can affect the societal acceptance of seeking for

gender dysphoria. — There are few studies on gender affirming surgery in general in children

and adolescents and only single studies on gender affirming genital surgery. — Studies on long-

term effects of gender affirming treatment in children and adolescents are few, especially for the

groups that have appeared during the recent decennium….— Almost all identified studies are ob-

servational, some with controls and some with evaluation before and after gender affirming treat-

ment. No relevant randomized controlled trials in children and adolescents were found. … We

have not found any composed national information from Sweden on: — the proportion of those

who seek health care for gender dysphoria that get a formal diagnosis nor — the proportion start-

ing endocrine treatment to delay puberty nor — the proportion starting gender affirming hormo-

nal treatment nor — the proportion subjected to different gender affirming surgery.”

           UK RESEARCHERS, COURTS, and OTHER REVIEWERS HIGHLIGHTED THE

PAUCITY OF RESEARCH, LIMITATIONS, DEFECTS, and RISKS IN THE STILL EXPERI-

MENTAL “GENDER TRANSITIONING” TREATMENT FIELD:

      The British official medical review office (NICE) published reports on transitioning sci-

ence. See Cohen, D. and Barnes, H., BBC, “Evidence for puberty blockers use very low, says




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NICE” … “The evidence for using puberty blocking drugs to treat young people struggling with

their gender identity is "very low", an official review has found. The National Institute of Health

and Care Excellence (NICE) said existing studies of the drugs were small and "subject to bias

and confounding." The assessment of the evidence into the drugs was commissioned by NHS

England. It is part of a review into gender identity services for children and young people. See

https://arms.nice.org.uk/resources/hub/1070905/attachment. The NICE review noted it was diffi-

cult to draw conclusions from existing studies because of the way they had been designed. They

were “all small” and did not have control groups, which are used to directly compare the effect

of different treatments. There were other issues with the studies too, such as not describing what

other physical and mental health problems a young person may have alongside gender dysphoria.

           NICE also reviewed the evidence base for cross-sex hormones. See

https://arms.nice.org.uk/resources/hub/1070871/attachment. The review found the evidence of

clinical effectiveness and safety of cross-sex hormones was also of “very low” quality. “Any po-

tential benefits of gender-affirming hormones must be weighed against the largely unknown

long-term safety profile of these treatments in children and adolescents with gender dysphoria,”

NICE said. Both documents were prepared by NICE in October 2020 and will now help inform

Dr. Hilary Cass's independent review into NHS gender identity services for children and young

people. See also Carmichael P, Butler G, Masic U, et al. Short-term outcomes of pubertal sup-

pression in a selected cohort of 12 to 15 year old young people with persistent gender dysphoria

in the UK. medRxiv 2020.12.01.20241653; doi:https://doi.org/10.1101/2020.12.01.20241653.

This British study conclusion noted: “We found no evidence of change (no improvement) in

psychological function with GnRHa treatment as indicated by parent report (CBCL) or self-re-




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port (YSR) of overall problems, internalizing or externalizing problems or self-harm….” Pu-

berty blockers used to treat children aged 12 to 15 who have severe and persistent gender dys-

phoria had no significant effect on their psychological function, thoughts of self-harm, or body

image, a study has found. However, as expected, the children experienced reduced growth in

height and bone strength by the time they finished their treatment at age 16. See, also Dyer,

C. Puberty blockers: children under 16 should not be referred without court order, says NHS

England. BMJ2020;371:m4717.doi:10.1136/bmj.m4717 pmid:33268453. See, Dyer, C., Pu-

berty blockers do not alleviate negative thoughts in children with gender dysphoria, finds study,

BMJ 2021;372:n356 doi: https://doi.org/10.1136/bmj.n356 (Published 08 February 2021); see

also Dyer, C. Puberty blockers do not alleviate [suicidal] negative thoughts in children with gen-

der dysphoria, finds study. BMJ 372, n356, doi:10.1136/bmj.n356 (2021).

https://www.medrxiv.org/content/10.1101/2020.12.01.20241653v1 BBC sum-

mary: https://www.bbc.com/news/uk-55282113journal.pone.0243894. pmid:33529227. See

also, “Tavistock’s Experimentation with Puberty Blockers: Scrutinizing the Evidence,”

TransgenderTrend.com, March 5, 2019. Regarding the UK’s Tavistock and Portman NHS

Trust’s Gender Identity Development Service’s experimental trial of puberty blockers for early

teenagers with gender dysphoria. Oxford’s Professor Michael Biggs wrote, “To summarize,

GIDS launched a study to administer experimental drugs to children suffering from gender dys-

phoria.”… “After a year on GnRHa [puberty blockers] children reported greater self-harm, and

girls experienced more behavioral and emotional problems and expressed greater dissatisfaction

with their body—so puberty blockers actually exacerbated gender dysphoria.”




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            See also Griffin, L., Clyde, K., Byng, R., Bewley, S., Sex, gender and gender iden-

tity: a re-evaluation of the evidence. BJPsych Bulletin (2020) doi:10.1192/bjb.2020.73, Cam-

bridge University Press, 21 July 2020, As Griffin, et al discussed, “As there is evidence that

many psychiatric disorders persist despite positive affirmation and medical transition, it is puz-

zling why transition would come to be seen as a key goal rather than other outcomes, such as im-

proved quality of life and reduced morbidity. When the phenomena related to identity disorders

and the evidence base are uncertain, it might be wiser for the profession to admit the uncertain-

ties”. … “In addition, Griffin et al wrote: “Transgender support groups have emphasized the risk

of suicide. After controlling for coexisting mental health problems, studies show an increased

risk of suicidal behaviour and self-harm in the transgender population, although underlying cau-

sality has not been convincingly demonstrated. (See Marshall E, Claes L, Bouman WP, Witcomb

GL, Arcelus J. Non-suicidal self-injury and suicidality in trans people: a systematic review of the

literature. Int Rev Psychiatry 2016; 28: 58–69.). In sum, political activists and too many provid-

ers have used a fear of suicide to push experimental unproven, hazardous treatments.

            REVIEW OF WPATH: A 2021 review found WPATH standards “incoherent.” See

Dahlen, Sara, et al. “International Clinical Practice Guidelines for Gender Minority/Trans Peo-

ple: Systematic Review and Quality Assessment.” BMJ Open, vol. 11, no. 4, Apr. 2021, p.

e048943. Both WPATH and Endocrine Society guidelines have recently been assessed for qual-

ity by a systematic review, which found them to be of low quality. Specific to WPATH, the re-

viewers noted the difficulty of even extracting clear recommendations, describing the WPATH

guidelines as “incoherent.” Standards of care should provide practitioners with evidence-based

standards by which they may reliably inform the patient of projected outcomes, and do so with a




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known error rate. Such data is the starting point for obtaining informed consent, which is not

provided by either of these guidelines.

           THE INDEPENDENT REVIEW OF GENDER IDENTITY SERVICES FOR CHIL-

DREN AND YOUNG PEOPLE: INTERIM REPORT by Dr. Cass in the UK published in Febru-

ary 2022 concluded that “Evidence on the appropriate management of children and young people

with gender incongruence and dysphoria is inconclusive both nationally and internationally.” Dr.

Cass notes that “There is lack of consensus and open discussion about the nature of gender dys-

phoria and therefore about the appropriate clinical response.” (see https://cass.independent-re-

view.uk/publications/interim-report/)

           THE SOCIETY FOR EVIDENCE BASED GENDER MEDICINE (SEGM) RE-

VIEW SUMMARIZES THE HEALTH RISKS of TRANSITIONING: Consistent with changes

in Sweden, Finland, England, and Arkansas, SEGM published a research summary documenting

the serious health risks of “transitioning treatments” compared to the well-known lack of evi-

dence of reliable benefits for such treatments. See Science Studies – Health Risks of Medical

and Surgical Gender Reassignment.” SEGM at. https://www.segm.org/studies.

           EXPERTS ARE CONCERNED WITH UNEXPLAINED DEMOGRAPHIC SHIFTS

IN PATIENTS FOR WHOM PREVIOUS RESEARCH IS OF UNKNOWN USEFULNESS —

For decades transgender patients were mostly older adults or very young boys. Over the last few

years a tsunami of teenaged girls has flipped the demographics of transgender patients—now up

to 7 to 1 teen girls. Many experts have noted that the previous research on trans patients cannot

be relied upon when the patient group has so rapidly and mysteriously been transformed. In

sum, the newly presenting cases are vastly overrepresented by adolescent females, the majority

of whom also have significant mental health problems and neurocognitive comorbidities such as




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autism-spectrum disorder or ADHD. See de Graaf, Nastasja M., and Polly Carmichael. “Reflec-

tions on Emerging Trends in Clinical Work with Gender Diverse Children and Adoles-

cents.” Clinical Child Psychology and Psychiatry, vol. 24, no. 2, Apr. 2019, pp. 353–64. The

most recent evidence supports the emerging theory of social contagion as estimates of gender

dysphoria-transgenderism are rocketing upwards from 1 in 10,000 to “the number of U.S.

transgender-identified youth may be as high as 9%.” See Kidd, Kacie M., et al. “Prevalence of

Gender-Diverse Youth in an Urban School District.” Pediatrics, vol. 147, no. 6, June 2021, p.

e2020049823. This unexplained, radical transformations of demographics does not happen in

actual illnesses (cancer, heart disease, anxiety disorders, etc), but is tragically consistent with

previous mental health system disasters such as the once very rare “multiple personality disor-

der” and “recovered repressed memory” patients that radically increased in the 1990s. Dr.

Thomas Steensma, a prominent investigator of the Dutch protocol—the original model for transi-

tioning treatments—has recently noted that “[w]e don’t know whether studies we have done in

the past can still be applied to this time,” specifically because of the unexplained surge in female

adolescents reporting gender dysphoria. “Many more children are registering, but also of a dif-

ferent type… Suddenly there are many more girls applying who feel like a boy... now there are

three times as many females as males.” He concluded with the warning that “[w]e conduct struc-

tural research in the Netherlands. But the rest of the world is blindly adopting our research.”

See https://www.voorzij.nl/more-research-is-urgently-needed-into-transgender-care-for-young-

people-where-does-the-large-increase-of-children-come-from/

            A MARCH 2021 STUDY—WITH THE LARGEST SAMPLE YET—IS CON-

SISTENT WITH THE NEW DIRECTION OF FINLAND, SWEDEN, THE UK, and

FRANCE—SHOWS THAT MOST YOUNG GENDER DYSPHORIA CHILDREN GROW




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OUT OF THE PROBLEM WITH NO MEDICAL INTERVENTION. See Devita Singh1, Susan

J. Bradley 2 and Kenneth J. Zucker, Frontiers in Psychiatry, March 2021, Volume 12, Article

632784, www.frontiersin.org. “Watchful Waiting” is the recommended treatment: In the past,

67% of children meeting the diagnostic criteria for gender dysphoria no longer had the diagnosis

as adults, with an even higher, 93% rate of natural resolution of gender-related distress for the

less significantly impacted cases. See also, e.g. Zucker, K. J. (2018). The myth of persistence:

Response to “A critical commentary on follow-up studies and ‘desistance’ theories about

transgender and gender non-conforming children” by Temple Newhook et al. (2018). Interna-

tional Journal of Transgenderism, 19(2), 231–245.

            THE COCHRANE REVIEW FOUND INSUFFICIENT EVIDENCE OF BENE-

FITS: The widely respected Cochrane Review examined hormonal treatment outcomes for

male-to-female transitioners over 16 years. They found “insufficient evidence to determine the

efficacy or safety of hormonal treatment approaches for transgender women in transition.” It is

remarkable that decades after the first transitioned male-to-female patient, quality evidence for

the benefit of transitioning is still lacking. See Haupt, C., Henke, M. et. al., Cochrane Database

of Systematic Reviews Review - Intervention, Antiandrogen or estradiol treatment or both during

hormone therapy in transitioning transgender women, 28 November 2020 and

https://www.cochranelibrary.com/cdsr/doi/10.1002/14651858.CD013138.pub2/full.

      13.   A reasonable understanding of relative risk versus benefit for medical products or

procedures is a fundamental obligation in providing appropriate clinical care. This is the bed-

rock standard of “evidence based medical practice.” As detailed throughout this declaration, this

foundational standard has never been met by the gender transition industry. As noted by Levine

et al. “The risks of gender-affirmative care are ethically managed through a properly conducted




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informed consent process. Its elements-deliberate sharing of the hoped-for benefits, known risks

and long-term outcomes, and alternative treatments-must be delivered in a manner that promotes

comprehension. The process is limited by: erroneous professional assumptions; poor quality of

the initial evaluations; and inaccurate and incomplete information shared with patients and their

parents” (Levine, S. B., Abbruzzese, E., & Mason, J. W. (2022). Reconsidering Informed Con-

sent for Trans-Identified Children, Adolescents, and Young Adults. Journal of sex & marital

therapy, 1–22. Advance online publication. https://doi.org/10.1080/0092623X.2022.2046221).

            Differences between the gender transition industry’s approach to gender dysphoria

and the treatment of other medical conditions include not only the poor quality of evidence re-

garding safety and efficacy, but also attempts to silence standard scientific discussion and con-

sideration of alternative hypotheses, failures to acknowledge existing data showing persistence

of suicidality after intervening, the intentional impairment and destruction of normally formed

and functioning male and female sexual organs to address psychological-psychiatric distress, the

manipulation of language from standard medical definitions to accommodate novel ideology, and

widespread failures in properly reporting research data related to gender transitioning. Each of

these differences are discussed in detail in my declaration with appropriate examples and rele-

vant scientific and professional citations.

            When considering clinical practice guidelines, it is essential that physicians recognize

the relative risks and benefits of such documents. If done properly, they can distill large data

sets into actionable clinical recommendations. However, there is a long history of clinical prac-

tice guidelines that have later been found to be deficient, resulting in wasted medical resources,

failure to achieve desired benefits, or to have caused substantial harm to patients. (See, e.g.,

Woolf, S. H., Grol, R., Hutchinson, A., Eccles, M., & Grimshaw, J. (1999). Clinical guidelines:




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potential benefits, limitations, and harms of clinical guidelines. BMJ (Clinical research ed.),

318(7182), 527–530. https://doi.org/10.1136/bmj.318.7182.527)

      14.   It is highly misleading to imply that the current Endocrine Society guidelines, first

published in 2009 and revised in 2017 represent the opinions of the Societies 18,000 mem-

bers. (Hembree, W. C., Cohen-Kettenis, P., Delemarre-van de Waal, H. A., Gooren, L. J.,

Meyer, W. J., 3rd, Spack, N. P., Tangpricha, V., Montori, V. M., & Endocrine Society (2009).

Endocrine treatment of transsexual persons: an Endocrine Society clinical practice guideline. The

Journal of clinical endocrinology and metabolism, 94(9), 3132–3154.

https://doi.org/10.1210/jc.2009-0345; Hembree, W. C., Cohen-Kettenis, P. T., Gooren, L., Han-

nema, S. E., Meyer, W. J., Murad, M. H., Rosenthal, S. M., Safer, J. D., Tangpricha, V., &

T'Sjoen, G. G. (2017). Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent Persons:

An Endocrine Society Clinical Practice Guideline. The Journal of clinical endocrinology and

metabolism, 102(11), 3869–3903. https://doi.org/10.1210/jc.2017-01658). The committee that

drafted these guidelines was composed of less than a dozen self-selected members. The guide-

lines were never submitted to the entire membership for comment and approval prior to publica-

tion. They also did not undergo external review. Such political methodologies are common in

association “statements” and “endorsement” and not at all scientific nor reliable nor valid.

      15.   The hazard of making treatment recommendations based on studies with major meth-

odological weaknesses can be readily seen by considering representative studies used by advo-

cates of medical gender affirmation to justify this approach.

      15A. For example, the study by De Vries and colleagues (de Vries AL, Steensma TD,

Doreleijers TA, Cohen-Kettenis PT. Puberty suppression in adolescents with gender identity dis-

order: a prospective follow-up study. J Sex Med. 2011;8(8):2276-2283) is often cited to support




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longitudinal evidence of benefit from pubertal blockade. Although improvements in mood im-

proved and the risk of behavioral disorders with pubertal blockade were found over baseline, in

this study there was no control group. Thus, the authors were unable to determine the basis of

this improvement. The authors acknowledge that psychological support or other reasons may

have contributed to (or wholly caused) this observation. It is also important to note that gender

dysphoria itself did not diminish in study subjects, and there were no changes in body image-re-

lated distress.

        15B. The study by Turban and colleagues (Turban, J. L., King, D., Carswell, J. M., &

Keuroghlian, A. S. (2020). Pubertal Suppression for Transgender Youth and Risk of Suicidal

Ideation. Pediatrics, 145(2), e20191725) is often cited as proof that pubertal blockade prevents

suicide in transgender youth. However, this study used an unreliable, biased sampling methodol-

ogy. As stated in the paper, the authors considered “a cross-sectional online survey of 20,619

transgender adults aged 18 to 36 years” from the 2015 U.S Transgender Survey. This was an

online survey of transgender and “genderqueer” adults recruited from trans-friendly websites.

Among the many problems with this sampling methodology, there is NO evidence of study sub-

ject identities, NO way to assess for potential false subjects, and NO medical diagnosis for entry.

No causation can be determined from this retrospective, cross-sectional design. Furthermore, the

study failed to even assess Desisters and Regretters. Turban claimed that desisters and regretters

would “not be likely” in this study group, which also only included adults. Thus, the study “does

not include outcomes for people who may have initiated pubertal suppression and subsequently

no longer identify as transgender.” Turban’s misleading claim of lower suicidal ideation for

treated patients excluded the most seriously mentally ill patients that would have been DENIED

affirmation treatment. Those who received treatment with pubertal suppression, when compared




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with those who wanted pubertal suppression but did not receive it, had lower odds of lifetime su-

icidal ideation (adjusted odds ratio = 0.3; 95% confidence interval = 0.2– 0.6). In Table 3 of the

paper, under “Suicidality (past 12 months)” reductions for suppressed group v non-suppressed

were seen for ideation (50.6% v 64.8%) and “ideation with plan” (55.6% v 58.2%). However, it

is important to note that suicidal “ideation with plan and suicide attempt” for the suppressed

group INCREASED after treatment to 24.4% v 21.5% for the “non-treatment group.” The most

clinically significant result in this study — that “Affirmation Treatments INCREASED SERI-

OUS SUICIDE ATTEMPTS — was IGNORED BY THE AUTHORS (i.e., not statistically sig-

nificant but clinically significant) = “Suicide attempts resulting in inpatient care” = 45.5% for

suppression groups vs 22.8% for those who did not receive pubertal suppression. It would be

most reasonable to conclude from an observation of 45% attempted suicide in the treated arm

that the intervention was unsuccessful in improving health. Turban et al. ignored their own find-

ing that a history of puberty suppression was associated with an INCREASE in recent serious su-

icide attempts. In sum, the Turban 2020 Pediatrics study, based on an unverified US

Transgender Online Survey, tells us little about the effects of puberty suppression on children

with gender dysphoria. (See, Michael Biggs, Puberty Blockers and Suicidality in Adolescents

Suffering from Gender Dysphoria. Archives of Sexual Behavior, accepted 14 May 2020, DOI:

10.1007/s10508-020-01743-6 and the multiple Letters to the Editor that criticized the multiple

methodological errors in this study, https://pediatrics.aappublications.org/con-

tent/145/2/e20191725/tab-e-letters#re-pubertal-suppression-for-transgender-youth-and-risk-of-

suicidal-ideation)

       15C. The 2021 study of Bustos, et al., (Bustos, V. P., Bustos, S. S., Mascaro, A., Del Cor-

ral, G., Forte, A. J., Ciudad, P., Kim, E. A., Langstein, H. N., & Manrique, O. J. (2021). Regret




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after Gender-affirmation Surgery: A Systematic Review and Meta-analysis of Prevalence. Plas-

tic and reconstructive surgery. Global open, 9(3), e3477) attempts to provide a systematic re-

view of 27 observational or interventional studies that report on regret or detransition following

gender-transition surgeries. A total of 7928 subjects were included in their meta analysis. The

authors concluded that only 1% or less of those who had gender-transition surgeries expressed

regret. It is important to understand the serious methodological limitations and high risk of bias

contained within the analysis in the 2021 Bustos et al. study (see Expósito-Campos, P., & D’An-

gelo, R. (2021). Letter to the Editor: Regret after Gender-affirmation Surgery: A Systematic Re-

view and Meta-analysis of Prevalence. Plastic and reconstructive surgery. Global open, 9(11),

e3951). This includes failure to include major relevant studies addressing this question (e.g.

Dhejne, C., Öberg, K., Arver, S., & Landén, M. (2014). An analysis of all applications for sex

reassignment surgery in Sweden, 1960-2010: prevalence, incidence, and regrets. Archives of sex-

ual behavior, 43(8), 1535–1545), inaccurate analysis within one of the studies considered

(Wiepjes CM, Nota NM, de Blok CJM, et al. The Amsterdam Cohort of Gender Dysphoria

Study (1972–2015): Trends in Prevalence, Treatment, and Regrets. J Sex Med 2018; 15: 582–

590) and the general lack of controlled studies, incomplete and generally short-term follow-up,

large numbers of lost subjects, and lack of valid assessment measures in the published literature

addressing this question. As noted by Expósito-Campos and D’Angelo (2021), moderate to high

risk of bias was present in 23 of the 27 studies included in the analysis. Furthermore, 97% of

subjects analyzed were found within studies deemed to be of fair to poor scientific quality. Thus,

this study cannot be used as strong support for the contention that regret is rare.

       15D. The 2018 paper by Wiepjies, et al. (Wiepjes, C. M., Nota, N. M., de Blok, C.,

Klaver, M., de Vries, A., Wensing-Kruger, S. A., de Jongh, R. T., Bouman, M. B., Steensma, T.




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D., Cohen-Kettenis, P., Gooren, L., Kreukels, B., & den Heijer, M. (2018). The Amsterdam Co-

hort of Gender Dysphoria Study (1972-2015): Trends in Prevalence, Treatment, and Regrets. The

journal of sexual medicine, 15(4), 582–590) is a retrospective review of records from all patients

of the Center of Expertise on Gender Dysphoria gender clinic in Amsterdam from 1972-2015.

While the study appears to report on the regret rates among a large cohort of adolescents (812)

and children (548), regret is only reported for children and adolescents who had undergone

gonadectomy once over 18 years of age. Of the adolescents, 41% started puberty suppression.

Of those who started GnRH agonists, only 2% stopped this intervention (meaning that 98% of

those who started puberty suppression progressed to cross-sex hormone therapy). An additional

32%, having already completed puberty, started cross-sex hormone therapy without use of a

GnRH agonist. Classification of regret was very stringent, requiring physician documentation of

patient verbalized regret after gonadectomy and start of sex-concordant hormones to treat the iat-

rogenic hypogonadism. This means there are significant limitations to the conclusions that can

be drawn from 2018 paper by Wiepjies, et al. There is no discussion in this paper regarding ado-

lescent regret of use of puberty blockers, cross-sex hormones or mastectomies. Importantly 36%

of patients were lost to follow up. This is notable given that gonadectomy iatrogenically induces

the pathologic state of primary hypogonadism. Affected patients have a lifelong dependency for

exogenously administered sex-steroid hormones, and thus an acute need for ongoing follow-up.

The number of lost subjects who experienced regret or completed suicides is unknown. It is also

significant that the average time to regret was 130 months. The authors themselves acknowledge

that it may be too early to predict regret in patients who started hormone therapy in the past 10

years.




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      15E. The 2021 study by Narayan et al (Narayan, S. K., Hontscharuk, R., Danker, S., Guer-

riero, J., Carter, A., Blasdel, G., Bluebond-Langner, R., Ettner, R., Radix, A., Schechter, L., &

Berli, J. U. (2021). Guiding the conversation-types of regret after gender-affirming surgery and

their associated etiologies. Annals of translational medicine, 9(7), 605) examines anonymous

survey results from 154 surgeons affiliated with WPATH. The response rate for this survey was

30%. Of the respondents, 57% had encountered patients with surgical regret. It is important to

recognize that this study was specifically directed toward patients who had undergone surgical

transition. Acknowledged biases of this study include selection bias, recall bias, and response

bias. This type of study cannot accurately identify the prevalence in the transgender population

as a whole, and is particularly limited in the ability to assess potential for regret in the pediatric

population.

        15F. The 2018 Olson-Kennedy paper (Olson-Kennedy J, Warus J, Okonta V, Belzer M,

Clark LF. Chest Reconstruction and Chest Dysphoria in Transmasculine Minors and Young

Adults: Comparisons of Nonsurgical and Postsurgical Cohorts. JAMA Pediatr. 2018;172(5):431–

436) presents the results of a survey of biologically female patients with male gender identity at

the lead author’s institution using a novel rating system for “chest dysphoria” created by the

study authors. There were an equal number (68) of nonsurgical and post-surgical subjects sur-

veyed. Those who had undergone bilateral mastectomies were reported to have less chest dys-

phoria than those who did not receive this intervention. Limitations of this study include con-

venience sampling of nonsurgical study subjects with high potential for selection bias, cross-sec-

tional design, and lack of validation of the primary outcome measure. Test validation is particu-

larly relevant in assessing adolescent questionnaires due to a variety of cognitive and situational




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factors in this population (see Brener, N.D., J. Billy, and W.R. Grady. 2003. “Assessment of Fac-

tors Affecting the Validity of Self-Reported Health-Risk Behavior among Adolescents: Evidence

from the Scientific Literature.” Journal of Adolescent Health 33 (6): 436–57). Rigorous valida-

tion methods have been previously used in several other established questionnaires addressing

adolescent self-perception (see Palenzuela-Luis, N., Duarte-Clíments, G., Gómez-Salgado, J.,

Rodríguez-Gómez, J. Á., & Sánchez-Gómez, M. B. (2022). Questionnaires Assessing Adoles-

cents' Self-Concept, Self-Perception, Physical Activity and Lifestyle: A Systematic Review.

Children (Basel, Switzerland), 9(1), 91). As previously noted, this study cannot provide infor-

mation about a causal relationship between the intervention and outcome observed.

       15G. The 2021 Almazan study (Almazan, A.N. & A.S. Keuroghlian. (2021). Association

Between Gender-Affirming Surgeries and Mental Health Outcomes. JAMA Surgery, 156(7):

611–618) attempts to address mental health outcomes in relation to gender-transition surgery.

As previously noted, this study relies upon data from the 2015 US Transgender Survey. Limita-

tions and weaknesses of this survey tool includes convenience sampling, recruitment of patients

through transgender advocacy organizations, demand bias (a.k.a. the good subject effect), a high

number of respondents who reported having not transitioned medically or surgically (and re-

ported no desire to do so in the future), and several data irregularities. One notable data irregu-

larity was that a high number of respondents reported that their age was exactly 18 years. As

noted by D’Angelo and colleagues, these irregularities raise serious questions about the reliabil-

ity of the USTS data (D’Angelo, R., et al. (2021). One Size Does Not Fit All: In Support of Psy-

chotherapy for Gender Dysphoria. Archives of sexual behavior, 50(1): 7–16.

https://doi.org/10.1007/s10508-020-01844-2), and therefore, the reliability of conclusions based

on that data.




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       15H. In his declaration, Dr. Rosenthal cites the 2021 paper by Green et al (Association of

Gender-Affirming Hormone Therapy With Depression, Thoughts of Suicide, and Attempted Sui-

cide Among Transgender and Nonbinary Youth. J Adolescent Health 1-7 (2021) to support his

assertion that gender affirming therapy lowers depression and suicide. Similar to the major

methodological weaknesses noted above, this study relied upon a non-probability convenience

sample of youth who identified as LGBTQ. Recruitment was made by targeted ads on Face-

book, Twitter and Snapchat. In addition to the inherent bias of such study methodology, the data

obtained by cross-sectional analysis cannot determine whether there is a causal relationship be-

tween access to gender affirming medical interventions and changes in depression or suicide.

       15I. Rosenthal’s citation of the paper by Turban et al (Access to gender-affirming hor-

mones during adolescence and mental health outcomes among transgender adults. PLoS ONE

17(1) 2021; https://doi.org/10.1371/journal. pone.0261039) is similarly misleading as this study

relied upon data from the same 2015 US transgender survey for which the major methodological

weaknesses were discussed in detail above (⁋15B)

     16.   There are major and highly significant differences between male and female re-

sponses to many drugs including sex hormones. (See, e.g., Madla, C. M., Gavins, F., Merchant,

H. A., Orlu, M., Murdan, S., & Basit, A. W. (2021). Let's talk about sex: Differences in drug

therapy in males and females. Advanced drug delivery reviews, 113804. Advance online publica-

tion. https://doi.org/10.1016/j.addr.2021.05.014). Giving estrogen to a biological male is not

equivalent to giving the same hormone to a biological female. Likewise, giving testosterone to a

biological female is not equivalent to giving the same hormone to a biological male. (See for ex-

ample Soldin, O. P., & Mattison, D. R. (2009). Sex differences in pharmacokinetics and pharma-

codynamics. Clinical pharmacokinetics, 48(3), 143–157 and Pogun S., Yararbas G. (2010) Sex




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Differences in Drug Effects. In: Stolerman I.P. (eds) Encyclopedia of Psychopharmacology.

Springer, Berlin, Heidelberg.). Differences are not limited to pharacokinetic effects but are pre-

sent even at the cellular level. (See, e.g., Walker, C. J., Schroeder, M. E., Aguado, B. A., An-

seth, K. S., & Leinwand, L. A. (2021). Matters of the heart: Cellular sex differences. Journal of

molecular and cellular cardiology, S0022-2828(21)00087-0. Advance online publication.

https://doi.org/10.1016/j.yjmcc.2021.04.010). Failure to acknowledge these differences can have

tragic consequences. For example, in addition to the inherent sterilizing effect of cross-sex hor-

mone administration, non-physiological levels of estrogen in males has been shown to increase

the risk of thromboembolic stroke above the incidence observed in females (e.g. Getahun, D.,

Nash, R., Flanders, W. D., Baird, T. C., Becerra-Culqui, T. A., Cromwell, L., Hunkeler, E., Lash,

T. L., Millman, A., Quinn, V. P., Robinson, B., Roblin, D., Silverberg, M. J., Safer, J., Slovis, J.,

Tangpricha, V., & Goodman, M. (2018). Cross-sex Hormones and Acute Cardiovascular Events

in Transgender Persons: A Cohort Study. Annals of internal medicine, 169(4), 205–213.

https://doi.org/10.7326/M17-2785).

      17.   The claim that adolescents with persistent gender dysphoria after reaching Tanner

Stage 2 almost always persist in their gender identity in the long-term whether or not they were

provided gender affirming care is not supported by high quality scientific evidence. Frequent ci-

tation of a book chapter by Turban, De Vries and Zucker does not provide evidence in support of

this claim. Within the chapter cited it states, “The natural history of gender identity for children

who express gender nonconforming or transgender identities is an area of active re-

search.” Only a single reference is found, and this is itself another book (Cohen-Kettenis PT,

Pfäfflin F: Transgenderism and Intersexuality in Childhood and Adolescence: Making Choices.




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London, Sage, 2003). Within the text of the Cohen-Kettenis book, there is no experimental evi-

dence to support the assertion that nearly all Tanner stage adolescents have persistent

transgendered identity. In fact, in Chapter 4 of this text, evidence is presented that the majority

of evaluated subjects did not have persistence but rather eventually presented as homosexual

adults. Cited references for this outcome include: Green, R. (1987). The “sissy boy syndrome”

and the development of homosexuality. New Haven, CT: Yale University Press.; Money, J., &

Russo, A. J. (1979). Homosexual outcome of discordant gender identity/role: Longitudinal fol-

low-up. Journal of Pediatric Psychology,4, 29-41.; Zucker, K. J., & Bradley, S. J. (1995). Gender

identity disorder and psychosexual problems in children and adolescents. New York/London:

Guilford Press.; Zuger, B. (1984). Early effeminate behavior in boys: Outcome and significance

for homosexuality. Journal of Nervous and Mental Disease, 172, 90-97.

      18.   Serious Methodological Limitations, Flaws, and Defects in the Gender Transition In-

dustry’s Methods for the Diagnostic-Labelling of “Gender Dysphoria”: The DSM (Diagnostic

and Statistical Manual of the American Psychiatric Association) involves an often controversial

consensus seeking, (not scientific evidence seeking), political-voting process that began histori-

cally as an attempt to construct a reliable dictionary for psychiatry. The DSM has historically

included unreliable, since debunked, diagnoses such as “multiple personality disorder” that

fueled a harmful “craze” damaging vulnerable patients until scientists, legal professionals, juries,

and licensing boards put a stop to it. (See the detailed discussion below). It is important for le-

gal professionals to understand that the DSM was created using a consensual, political process of

committees and voting and does not depend upon an evidence-based, uniformly valid and relia-

ble scientific process. Small groups of professionals, often with ideological agendas, can form




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committees and create “diagnoses” to be “voted” into the DSM. Much of DSM content is de-

cided by the “voting” of small committees of advocates and activist practitioners whose judg-

ment may suffer from significant financial conflicts of interest — as appears to be the case with

all three of the plaintiffs’ experts in this case.

      19. Well-Documented Methodological Limitations, Flaws, and Defects in Gender Identity

(“Transgender”) Subjective Clinical Assessments: The clinical assessment methodology in sex

discordant gender medicine is currently limited to self-report information from patients without

objective scientific markers, medical tests, or scientific assessment tools. There are no reliable

radiological, genetic, physical, hormonal, or biomarker tests that can establish gender identity or

reliably predict treatment outcomes. A few hours of conversation with often poorly trained so-

cial workers often provides the only gatekeeping process to severe and irreversible iatrogenic

surgical and hormonal injuries. Most importantly, the long-term effects of “transitioning” have

never been scientifically validated. No valid-reliable methodology for such assessments has

been accepted by the relevant scientific community and it appears that no known error rates for

such assessments have ever been published. A more detailed discussion of the foundational sci-

ence documenting the limitations and methodological defects in this field is offered below.

      20.   Essential Methodological Problems in the Gender Transition Industry: The research

is characterized by sampling errors, the misreporting of findings, the misreporting of relevant

history, misquoting of research studies, low quality research designs, failures to complete ran-

domized clinical trials, and widespread confirmation bias, including the failure to properly ex-

plore alternative hypotheses (e.g., social contagion, mental illness, complex developmental pro-

cesses, family dynamics, etc.), and other failures of basic scientific methodology. It is essential

to properly consider alternative theories/hypotheses for the rapid and nearly exponential increase




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of transgender cases—such as social contagion, mental illness, and/or complex developmental

processes—especially as reportedly driven by news media, social media “YouTube “influen-

cers” (who reportedly sell “transitioning” to vulnerable youth on social media), educational sys-

tems (that reportedly pressure 1st graders to “identify as non-binary”), as well as political-activist

“pro-transition” health care workers (too few of whom seem to have carefully reviewed and un-

derstood the relevant scientific history and ongoing controversies in this field).

      21.   TERMINOLOGY - BIOLOGICAL SEX: Biological sex is a term that specifically

refers to a member of a species in relation to the member’s capacity to either donate (male) or

receive (female) genetic material for the purpose of reproduction. Sex thus cannot be “assigned

at birth” because it is permanently determined by biology at conception. This remains the stand-

ard definition that has been accepted by the relevant scientific community and used worldwide

by scientists, medical personnel, and society in general for decades. The scientific and clinical

measurement of sex is done with highly reliable and valid objective methodologies. Visual med-

ical examination of the appearance of the external genitalia is the primary methodology used by

clinicians to recognize sex. In cases where genital ambiguity is present, additional testing mo-

dalities including chromosomal analysis, measurement of hormone levels, radiographic imaging

of internal sexual anatomy and biological response to provocative testing are utilized. The meas-

urement and assessment of biological sex has been documented by valid-reliable research pub-

lished in credible journals, and is accepted by the relevant scientific community. The error rate

for the measurement and assessment of biological sex is very low, below 1%.

      22.   TERMINOLOGY - GENDER: Gender, a term that had traditionally been reserved

for grammatical purposes, is currently used to describe the psychological and cultural character-

istics of a person in relation to biological sex. Gender in such new definitions would therefore




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exist only in reference to subjective personal perceptions and feelings and societal expectations,

but not biology. The term “gender” is currently used in a variety of ways and has thus become a

controversial and unreliable term that means different things to different observers often varying

according to political and ideological positions. The only definition of gender accepted by the

worldwide, relevant scientific (biology, genetics, neonatology, zoology, medicine, etc.) commu-

nity retains the historic biological connection to reproductive purpose with other definitions

mired in controversy. The reliability and validity of various usages of the term “gender” is cur-

rently quite controversial and the relevant scientific community has accepted no use other than in

relation to biological sex, which includes participate in activities related to reproduction. The se-

rious dangers of incorrectly using the term “gender” is acknowledged by the Endocrine Society

(Bhargava, A., Arnold, A. P., Bangasser, D. A., Denton, K. M., Gupta, A., Hilliard Krause, L.

M., Mayer, E. A., McCarthy, M., Miller, W. L., Raznahan, A., & Verma, R. (2021) Considering

Sex as a Biological Variable in Basic and Clinical Studies: An Endocrine Society Scientific

Statement. Endocrine reviews, bnaa034. Advance online publication.

https://doi.org/10.1210/endrev/bnaa034). In addition, the error rate for multiple uses of the term

“gender” outside of the accepted biologically related use is unknown, untested, and unpublished.

The measurement and assessment of biological sex and gender has been documented by valid-

reliable research published in credible journals, and is accepted by the relevant scientific commu-

nity. The error rate for the measurement and assessment of biological sex and gender is very

low, below 1%.

      23.   TERMINOLOGY - GENDER IDENTITY: Gender identity refers to a person’s indi-

vidual experience and perception and unverified verbal patient reports of how they experience

being male or female or a combination of these or other categories. The term “gender identity” is




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currently controversial. It is a term that means very different things to different observers often

varying according to political, ideological, religious, and other factors. There is no current

worldwide definition of “gender identity” accepted by the relevant scientific (cf. clinical) com-

munity. The reliability and validity of the term “gender identity” is controversial and not ac-

cepted by the relevant scientific community. The measurement error rate for non-biological

“gender identity” is unknown, untested, and unpublished and could be very high.

      24.   TERMINOLOGY - SEXUAL ORIENTATION: Sexual orientation refers to a per-

son’s enduring pattern of arousal and desire for intimacy with males, females, or both.

      25.   TERMINOLOGY - DNA and CHROMOSOMES: Sex is genetically encoded at the

moment of conception due to the presence of specific DNA sequences (i.e. genes) that direct the

production of signals that influence the formation of the bipotential gonad to develop into either

a testis or ovary. This genetic information is normally present on X and Y chromosomes. Chro-

mosomal sex refers to the normal complement of X and Y chromosomes (i.e. normal human

males have one X and one Y chromosome whereas normal human females have two X chromo-

somes). Genetic signals are mediated through the activation or deactivation of other genes and

through programmed signaling of hormones and cellular transcription factors. The default pat-

tern of development in the absence of external signaling is female. The development of the male

appearance (phenotype) depends upon active signaling processes.

      26.   BIOLOGICAL SEX IS BINARY—NOT A CONTINUUM—FOR 99%+ of MAM-

MALS INCLUDING HUMANS: For members of the human species (and virtually all mam-

mals), sex is normatively aligned in a binary fashion (i.e., either male or female) in relation to

biologic purpose. The presence of individuals with disorders of sexual development (along the




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range of the established Prader scale) does not alter this fundamental reality. Medical recogni-

tion of an individual as male or female is correctly made at birth in nearly 99.98% of cases ac-

cording to external phenotypic expression of primary sexual traits (i.e., the presence of a penis

for males and presence of labia and vagina for females). The recognition of an individual as

male or female made at birth according to biological features has been documented by valid-reli-

able research published in credible journals, and is generally accepted by the relevant scientific

community. The error rate for the measurement and assessment of an individual as male or fe-

male made at birth according to biological features is very low indeed, certainly below 1%.

      27.   THE GENITAL-BIOLOGICAL FUNCTION OF REPRODUCTION: Due to ge-

netic and hormonal variation in the developing fetus, normative development of the external gen-

italia in any individual differs with respect to size and appearance while maintaining an ability to

function with respect to biologic purpose (i.e. reproduction). Internal structures (e.g. gonad,

uterus, vas deferens) normatively align in more than 99.9%+ of mammals with external genitalia,

including humans. In my opinion, this view is generally accepted by the relevant scientific com-

munities in endocrinology, neonatology, developmental biology, genetics, and other relevant

fields. In my opinion, all relevant sciences agree that the development of genital structures is

intrinsically oriented to biological reproduction.

      28.   BIOLOGICAL ASSESSMENT OF SEX: Reliance upon external phenotypic expres-

sion of primary sexual traits is a highly accurate, reliable and valid means to assign biologic sex.

In over 99.9% of cases, this designation will correlate with internal sexual traits and capacity for

normal biologic sexual function. Sex is therefore not “assigned at birth” but is rather recognized

at birth. In my opinion, this view is generally accepted by the relevant scientific communities in

endocrinology, psychiatry, neonatology, biology, genetics, gynecology, and other fields.




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      29.   DISORDERS OF SEXUAL DEVELOPMENT ARE VERY RARE: Due to the com-

plexity of the biological processes that are involved in normal sexual development, it is not sur-

prising that a very small number of individuals are born with defects in this process (1 in 5,000

births). Defects can occur through either inherited or de novo mutations in genes that are in-

volved in sexual determination or through environmental insults during critical states of sexual

development. Persons who are born with such abnormalities are considered to have a disorder of

sexual development (DSD). Most often, this is first detected as ambiguity in the appearance of

the external genitalia. Such detection measurements are reliable and valid and accepted by the

relevant scientific community. In my opinion, this view is generally accepted by the relevant

scientific communities in endocrinology, neonatology, gynecology, psychiatry, biology, genetics,

and other fields. See Leonard Sax (2002) How common is lntersex? A response to Anne Fausto‐

Sterling, The Journal of Sex Research, 39:3, 174-178, DOI: 10.1080/00224490209552139

            DISORDERS OF SEXUAL DEVELOPMENT ARE NOT A THIRD SEX: Normal

variation in external genital appearance (e.g. phallic size) does not alter the basic biologic nature

of sex as a binary trait. “Intersex” conditions represent disorders of normal development, not a

third sex. In my opinion, this view is generally accepted by the relevant scientific communities

in endocrinology, urology, surgery, neonatology, gynecology, psychiatry, biology, genetics, and

other fields.

      30.   DISORDERS OF SEXUAL DEVELOPMENT REQUIRE ASSESSMENTS OF OB-

JECTIVE EVIDENCE: The medical care of persons with disorders of sexual development

(DSDs) is primarily directed toward identification of the etiology of the defect and treatment of

any associated complications. Similar to other diseases, diagnostic tools such as the Prader scale

are used to assess, measure, and assign a “stage” to the severity of the deviation from normal




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(e.g. assessments of objective, reliable evidence). In children with DSDs, characterization based

upon phenotype alone does not reliably predict chromosomal sex nor does it necessarily correlate

with potential for biological sexual function. Decisions on initial sex assignment in these very

rare cases require detailed assessment of objective, reliable medical evidence by a team of expert

medical providers. In my opinion, this view is generally accepted by the relevant scientific com-

munities in endocrinology, urology, surgery, neonatology, gynecology, psychiatry, biology, ge-

netics, and other fields.

      31.   INTERSEX CONDITIONS REQUIRE PROPER CONSIDERATION OF ALTER-

NATIVE HYPOTHESES AND TREATMENT PLANS: Standard medical practice in the treat-

ment of persons with DSDs has evolved with growing understanding of the physical, psychologi-

cal, and psychiatric needs and outcomes for affected individuals. Previously, it was felt that a

definitive sex assignment was necessary shortly after birth with the belief that this would allow

patients with a disorder of sexual development to best conform to the assigned sex and so par-

ents-caregivers could help socialize the child to the assigned sex. Current practice is to defer sex

assignment until the etiology of the disorder is determined and, if possible, a reliable prediction

can be made on likely biologic and psychologic outcomes. When this cannot be done with confi-

dence, a presumptive sex assignment is made. Factors used in making such decisions include

chromosomal sex, phenotypic appearance of the external genitalia, and parental desires. The

availability of new information can, in rare circumstances, lead to sex reassignment. Decisions

on whether to surgically alter the external genitalia to align with sex are generally deferred until

the patient is able to provide consent. See Lee, P. A. et al. Global Disorders of Sex Development

Update since 2006: Perceptions, Approach and Care. Horm Res Paediatr 85, 158-180,

doi:10.1159/000442975 (2016)). In my opinion, this view is generally accepted by the relevant




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scientific communities in endocrinology, urology, surgery, neonatology, gynecology, psychiatry,

biology, genetics, and other fields.

      32.   METHODOLOGICAL DEFECTS of the GENDER TRANSTION INDUSTRY -

WHY IS THE TRANSGENDER MEDICINE FIELD STILL SO CONTROVERSIAL AFTER

DECADES OF RESEARCH?:

               Despite several highly defective research efforts, the gender transition industry

                has failed to prove long term benefits that outweigh the reported harms, dangers,

                and serious injuries of “gender affirmation” interventions—including inability to

                reach orgasm, vaginal atrophy, compromised cognitive function, lifelong reliance

                on medication and repeated surgical intervention to deal with the cumulative ef-

                fects of these iatrogenic harms, stunted growth, damage to social support systems,

                and increased risk of serious suicide attempts.

               The gender transition industry has repeatedly presented false, deceptive, and mis-

                leading information to the public and to patients regarding the known risks, dan-

                gers, injuries and benefits of “affirmation treatments.” (E.g. the Bränström, Tur-

                ban, and related research errors of omission and misreporting.)

               The Gender Transition Industry has failed to generate reliable and valid treatment

                outcome research sufficient to support this risky medical experiment. (E.g., the

                national reviews of England (NICE), Sweden, Finland, Cochrane review, etc).

               Because of the lack of competent, valid, peer reviewed published research sup-

                port, the gender transition industry relies upon support from “professional associ-

                ations.” Yet such associations are engaged in consensus-seeking-political voting

                methodologies and not evidence-based, peer reviewed science. Such political-



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               professional associations have made similar, disastrous mistakes in the past. For

               example, the American Medical Association supported racist, “junk” science eu-

               genics “treatments” in the 1930s and the American Psychiatric Association did

               not act to prevent or halt the harms of the repressed-memory/multiple personality

               industry of the 1990s.

     33.   METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY IN-

CLUDE LIMITATIONS and HAZARDS OF RELYING ON UNVERIFIED PATIENT SELF-

REPORT DATA WITH NO OBJECTIVE EVIDENCE: In contrast to disorders of sexual devel-

opment, gender dysphoria cannot be reliably, objectively assessed, as it is based on patient self-

reports. (There are no blood tests, no x-rays, no lab results, and no objective data.) Individuals

who verbally report experiencing significant distress due to perceived discordance between gen-

der identity and sex cannot currently be reliably, validly, and objectively assessed as experienc-

ing “gender dysphoria.” (See American Psychiatric Association. Diagnostic and statistical man-

ual of mental disorders. 5th edn, (2013).) Although gender perceptions, feelings, and “identity”

usually align with biological sex, some individuals report experiencing discordance in these dis-

tinct traits. Specifically, for example, biologic females may report experiencing that they iden-

tify as males and biologic males may report experiencing that they identify as females. As gen-

der by definition is distinct from biological sex, one’s gender identity does not change a person’s

biological sex. There is currently no known reliable and valid methodology for assessing the ac-

curacy or nature of unverified, verbal reports of discordant “identity.” There is thus no known

“error rate” for relying upon such reports to engage in hormonal and surgical treatments that

might result in lasting, irreversible damages to normal, healthy organs and the destruction of nor-

mal biological functions (e.g. sterility), as the current research documents. In my opinion, this




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view is generally accepted by the relevant scientific communities in endocrinology, urology, sur-

gery, neonatology, gynecology, psychiatry, biology, genetics, and other fields.

     34. METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY in-

clude the KNOWN LIMITATIONS OF RELYING ON UNVERIFIED, PATIENT SELF-RE-

PORT DATA UNRELIABLY ASSESSED BY HEALTH CARE PROFESSIONALS. The rele-

vant science documents that mental health care professionals are unreliable human “lie detec-

tors” (“often no better than flipping a coin”). Currently, there is no known methodology for reli-

ably discerning true from false patient reports without corroborating evidence such as radiology,

lab tests, or other objective evidence. The gender transition industry’s sole reliance upon patient

self-report data carries unknown risks of errors, misinformation, deception and lasting harm to

patients from treatments that deliberately damage healthy organs and destroy essential normal

bodily processes (e.g. often causing sterility). Assessment of gender dysphoria currently de-

pends almost entirely upon unverified, self-reported evidence provided by patients. A patient’s

spoken or written reports of alleged “memories” of symptoms and behaviors are the only source

of evidence for the diagnosis in many cases. This is a source of potentially profound unreliabil-

ity in patient care as the relevant science documents that physicians are poor “lie detectors”—

often no more reliable in discerning false reports than flipping a coin—and sometimes much

worse. The relevant research also documents that even though humans (including therapists) are

poor “lie detectors,” many poorly trained physicians and mental health professionals person-

ally—and falsely—believe they are “experts” at this complex and difficult task. See, e.g., Vrij,

Aldert, Granhag, P. and Porter, S. (2010) Pitfalls and opportunities in nonverbal and verbal lie

detection. Psychological Science In The Public Interest, 11 (3). pp. 89-121. ISSN 1529-1006

10.1177/1529100610390861. The final error that I will highlight is that professional lie catchers




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tend to overestimate their ability to detect deceit. Research has consistently shown that when

professional lie catchers and laypersons are compared, “professionals are more confident in their

veracity judgments but are NO more accurate” (emphasis added). See also Rosen, G. M. and

Phillips, W.R., A Cautionary Lesson from Simulated Patients, Journal of the American Academy

of Psychiatry and Law, 32, 132-133, (2004).

      35. METHODOLOGICAL DEFECTS of the GENDER TRANSITION INDUSTRY in-

clude the reliance upon (often poorly trained) mental health professionals to assess unverified pa-

tient reports. Although much of medicine became science-based in the 20th century, the mental

health field reportedly continues to lag behind.

      The gender transition industry often involves social workers or other mental health profes-

sionals “assessing” patients reporting gender dysphoria to determine if they will “benefit” from

“affirmation” medical interventions. Given the extraordinary lack of competent, methodologi-

cally sound research justifying the use of gender affirmation “treatments” (as demonstrated in

independent reviews by England, Sweden, Finland, the Cochrane review, and others, see below),

there is no method for mental health professionals to reliably determine who might “benefit”

from experimental interventions. Such unreliable assessment protocols risk harm to patients as

they depend upon the widespread, unreliable method of having psychotherapists depend upon

“clinical judgment” methodologies to make life-changing decisions and offer “professional”

opinions with little or no scientific validity. See, e.g., Mischel, W. Connecting Clinical Practice

to Scientific Progress, Psychological Science in the Public Interest, November 2008, vol 9, no 2

i-ii. The past President of the Association for Psychological Science, Prof. Walter Mischel,




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stated “the current disconnect between psychological science and clinical practice is an uncon-

scionable embarrassment.” See Mischel, W. Connecting Clinical Practice to Scientific Progress,

Psychological Science in the Public Interest, Vol 9, No 2, 2009.

     Over the past century many components of the health care system—surgery, radiology, la-

boratory testing, internal medicine, pharmacological systems, etc.—became science-driven and

far more effective and reliable. Courts are often unaware that this transformation—moving from

widespread use of unreliable methodologies to the widespread use of reliable science-based

methodologies—has, in many ways, not yet occurred in the mental health system. See, e.g.,

West, Catherine, ‘An Unconscionable Embarrassment,’ Association for Psychological Science,

Observer, October 2009, see http://www.psychologicalscience.org/index.php/publications/ob-

server/2009/october-09/an-unconscionable-embarrassment.html; See, also Baker, T., McFall, R.

& Shoham, V., Current Status and Future Prospects of Clinical Psychology: Toward a Scientifi-

cally Principled Approach to Mental and Behavioral Health Care, Psychological Science in the

Public Interest, Vol. 9, No. 2 (2009); see also Harrington, A., Mind Fixers: Psychiatry's Troubled

Search for the Biology of Mental Illness, W. W. Norton & Company; 1st edition, April 16, 2019;

see also Dawes, R.M., House of cards: Psychology and psychotherapy built on myth, New York:

Free Press (1997); see also Garb, H. N., & Boyle, P. A (2003). Understanding why some (mental

health) clinicians use pseudoscientific methods: Findings from research on clinical judgment. In

S. O. Lilienfeld, S. J. Lynn, &. J. M. Lohr (Eds.), Science and pseudo-science in clinical psy-

chology (pp. 17–38). New. York, NY: Guilford Press.

     36.   DYSPHORIC REPORTS ARE COMMON FROM CHILDREN WITH A RANGE

OF ILLNESSES: Reports of feelings of anxiety, depression, isolation, frustration, and embar-

rassment are not unique to children with gender dysphoria, but rather are common to children




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who differ physically or psychologically from their peers. Difficulties are accentuated as chil-

dren progress through the normal stages of neuro-cognitive and social development. In my clini-

cal practice of pediatric endocrinology, this is most commonly seen in children with diabetes.

Attempts to deny or conceal the presence of disease rather than openly acknowledge and address

specific needs can have devastating consequences including death. With proper acknowledg-

ment of the similarity and differences between children with gender dysphoria and other devel-

opmental challenges, prior medical experience in treating a range of reported troubles can guide

the development of effective approaches to both alleviate suffering and minimize harm to school

aged and adolescent children experiencing gender dysphoria.

     37.   COURTS SHOULD BE AWARE THAT CLINICAL EXPERIENCE IN THE MEN-

TAL HEALTH FIELDS—WHERE CLINICIANS OFTEN LACK ACCURATE FEEDBACK—

IS OFTEN OF LIMITED VALUE: As the gender transition industry routinely permits poorly

qualified social workers or other mental health professionals to subjectively make life changing

decisions in gender dysphoria cases—such mental health professionals often unreliably overesti-

mate their ability to offer such “crystal ball” assessments and predictions. Few of these profes-

sionals seem aware of the research showing the grave limitations on the experience, judgment,

and methodologies of mental health professionals. See, e.g., Tracey, T.J., Wampold, B.E.,

Lichtenberg, J.W., Goodyear, R. K., (2014) Expertise in Psychotherapy: An Elusive Goal, Amer-

ican Psychologist, Vol. 69, No. 3, 218-229. “In a review of expertise across professions, Shan-

teau, J. (1992). [Competence in experts: The role of task characteristics. Organizational Behav-

ior and Human Decision Processes, 53(2), 252–266.] identified several professions in which

practitioners develop expertise, which he defined as increased quality of performance that is

gained with additional experience. These professions, which demonstrate there can be a relation




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between experience and skill, include astronomers, test pilots, chess masters, mathematicians,

accountants, and insurance analysts. Shanteau also identified several professions for which ex-

periential expertise was not demonstrated, including [mental health professionals]. He attributed

the differences between the two types of professions to the predictability of their outcomes and

the unavailability of quality feedback.” For example, airline pilots, or even more clearly Navy

fighter pilots who land on aircraft carriers practice their professions in full view of hundreds of

people. If they err, people die. If they are, off course, unstable, or inaccurate in their perfor-

mance, immediate consequences, retraining or loss of profession is the immediate outcome. In

contrast, a social worker, psychologist, or psychiatrist, sitting alone in a room with a troubled pa-

tient can make erroneous statements, use unreliable methodologies (e.g., naively believing what-

ever patients tell them or believing that they are “professional human lie detectors”), believe

false and misleading notions about human memory, demonstrate ignorance of the serious defects

in transgender treatment research, and fail to properly inform patients of the risks and benefits of

treatments, etc. Mental health professionals can make such egregious errors for decades without

receiving timely, accurate feedback. Without accurate feedback there is a failure of the learning

process and improvements are difficult or not possible. Such limiting processes can continue for

many years of practice. This is why mental health professions have been listed as doing the type

of work that often does not lead to improvements in “clinical experience”—even over many

years of practice. Gender discordant (“transgender”) patients are rarely, if ever, informed of

these limitations on mental health professionals’ knowledge, training, or experience nor the limi-

tations of mental health “assessments” based on unverified self-reported “memory” data.

      38.   The World Professional Association for Transgender Health (WPATH), the Ameri-

can Academy of Pediatrics (AAP), and the Endocrine Society: This methodological critique and




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history of association errors and misadventures is quite informative when assessing the “profes-

sional association” consensus seeking methodologies including voting and political activities

such as those of WPATH, the AAP, the American Endocrine Society and similar groups as they

adopt support for the “politically correct” but scientifically defective, ideologically driven gender

transition industry. Consensus seeking (voting) methods are not scientific evidence-based meth-

odologies. Courts should take care not to be deceived by the “positions” of Associations—no

matter how large or vocal. The net effect of many the gender transition industry’s methods and

procedures is the sterilization of tens of thousands of children, adolescents, and adults. This is a

sobering reminder of previous, now infamous, medical misadventures. (See Hruz, PW, Mayer,

LS, and McHugh, PR, "Growing Pains: Problems with Puberty Suppression in Treating Gender

Dysphoria," The New Atlantis, Number 52, Spring 2017 pp. 3 -36; See also McHugh, P., Psychi-

atric Misadventures, The American Scholar, Vol. 62, No. 2 (Spring 1993), pp. 316-320).

      39. The Diagnostic and Statistical Manual of the American Psychiatric Association

(DSM): A final example of the methodological limitations of relying upon “association voting”

methods is the Diagnostic and Statistical Manual of the American Psychiatric Association. The

DSM (and also the International Classification of Diseases- ICD) system(s) have confused some

courts in the past. Simply put, reliability data, validity methodological analyses, and error rates

are not supplied nor supported by the Diagnostic and Statistical Manual of the American Psychi-

atric Association (DSM).

      The current American Psychiatric Association’s Diagnostic and Statistical Manual of Men-

tal Disorders (Version 5) employs the term “Gender Dysphoria” and defines it with separate sets

of criteria for adolescents and adults on the one hand, and children on the other. It is important

to appreciate the DSM for what it is and what it is not. The DSM began as an attempt to create a




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dictionary for psychiatry. The process by which DSM classifications are created involves voting

by committee—this is not a reliable-valid scientific process. The committees’ recommendations

are approved or rejected by superordinate committees. DSM content is largely decided by con-

sensus-seeking methodologies—such as “voting” by small committees of (sometimes) advocates

and activist practitioners whose judgment may suffer from significant financial conflicts of inter-

est. The limitations of the DSM methodology are well known in the relevant scientific commu-

nity. In my opinion, these views are generally accepted by the relevant scientific community.

     In sum, professional association “positions” are not based upon competent, credible, relia-

ble and valid scientific methodologies. Professional association “positions” on gender affirma-

tion assessments and treatments remain very socially, medically, and scientifically controver-

sial—and increasingly so. The association “positions”—since they are produced by voting and

not methodologically reliable-valid evidence—have not been generally accepted by the relevant

scientific community and they have no known, nor published, error rates.

       40.   PATIENTS‘ RIGHTS TO TESTED, PROVEN TREATMENTS and INFORMED

CONSENT HAVE BEEN VIOLATED IN THE PAST BY ETHICAL FAILURES IN THE

MEDICAL and MENTAL HEALTH SYSTEMS. Using experimental procedures on unin-

formed, vulnerable patients is unethical and improper. Some of the most tragic chapters in the

history of medicine include violations of informed consent and improper experimentation on pa-

tients using methods and procedures that have not been tested and validated by methodologically

sound science—such is the case with the gender transition industry. The history of the infamous

Tuskegee studies, the Nazi and Imperial Japanese wartime experiments, lobotomies (e.g., Dr.

Egas Moniz received the 1949 Nobel Prize in Medicine for inventing lobotomies as a “treat-

ment” for schizophrenia. See https://www.nobelprize.org/prizes/medicine/1949/moniz/article/),




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recovered memory therapy-multiple personality disorders, rebirthing therapy (see, e.g., Janofsky,

M. Girl's Death Brings Ban on Kind of ‘Therapy’. New York Times. April 18, 2001; see also

Peggy Lowe, Rebirthing team convicted: Two therapists face mandatory terms of 16 to 48 years

in jail, Rocky Mountain News, April 21, 2001), coercive holding therapy (see, Hyde, J. “Holding

therapy appears finished, State orders the last practitioner of holding therapy to end controversial

method” Deseret News, Feb 13, 2005), and other tragic examples should serve as a stark warn-

ing to medical providers to properly protect the rights of patients and their families to a proper

informed consent process and to not be subjected to experimental, unproven interventions such

as gender transition “treatments.” It is now universally agreed that medical and psychotherapy

patients have a right to proper informed consent. Professional ethics codes, licensing rules and

regulations, hospital rules and regulations, state and federal laws, and biomedical conventions

and declarations all protect patients’ right to informed consent discussions of the risks and bene-

fits of proposed treatments and alternative treatments including no treatment. See Jonson AR,

Siegler M, Winslade, WJ: Clinical Ethics, New York: McGraw Hill, 1998, (“Informed consent is

defined as the willing acceptance of a medical intervention by a patient after adequate disclosure

by the physician of the nature of the intervention, its risks, and benefits, as well as of alternatives

with their risks and benefits.”) See also Katz, A., Webb, S., and Committee on Bioethics, In-

formed Consent in Decision-Making in Pediatric Practice, Pediatrics, August 2016, 138 (2)

e20161485; DOI: https://doi.org/10.1542/peds.2016-1485 at https://pediatrics.aappublica-

tions.org/content/138/2/e20161485

            Tragically, however, as I will discuss in detail below, we now have much evidence

supporting increasing concerns that the true risks and benefits of Sex Discordant Gender




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(“transgender”) transition “treatments” are NOT being properly and ethically presented to pa-

tients by providers (surgeons, endocrinologists, therapists, etc). Similarly, many of the published

“pro-transition” research studies reviewed in this declaration have misrepresented to the public

the actual risks and benefits of gender affirming medical interventions. The gender transition in-

dustry has produced research claiming evidence supporting the use of controversial “treatments”

when, in fact, their own study data more likely support the alternative hypothesis that so-called

“transition” intervention procedures might produce higher risks of anxiety and more serious sui-

cide attempts requiring hospitalization. Expert witnesses in cases involving issues related to sex

discordant gender transition interventions are duty bound and required by licensing rules to truth-

fully and fully disclose to courts and legal professionals the well-documented risks, international

controversies, and published misrepresentations involving the still unproven gender transition

methods and procedures.

     42.   ONE OF THE MOST SERIOUS OF ALL METHODOLOGICAL ERRORS,

CONFIRMATION BIAS, PLAGUES THE RESEARCH OF THE GENDER TRANSITION IN-

DUSTRY: Confirmation bias is one of the most serious and potentially dangerous errors in the

assessment-diagnosis-treatment process of medicine. One of the key methodologies in science

and in proper investigations-assessments of all kinds—including expert witness review and testi-

mony—is the generation and testing of multiple alternative investigative hypotheses. From US

Public Junior High Schools (typically first taught to 8th Graders) through competent M.A.,

M.S.W., and all Ph.D. and M.D. graduate programs, students and professionals at all levels are

taught that the central methodology for science and for a proper assessment-diagnosis-treatment

or expert witness report involves the generation and testing of alternative investigative hypothe-

ses. Investigative hypotheses, once generated, should be rationally, properly, and fairly explored




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to see if actual, factual evidence supports or refutes the hypotheses. A common and serious error

in improper assessments-diagnoses-treatments is “confirmation bias,” the failure to generate and

then explore alternative hypotheses. With confirmation bias, the often poorly trained and/or bi-

ased physician, investigator, expert, or therapist applies a narrow “tunnel vision” process to sup-

port a single, favorite, biased, pre-conceived hypothesis in a case. (See Garb, H. N., & Boyle, P.

A (2003). Understanding why some clinicians use pseudoscientific methods: Findings from re-

search on clinical judgment. In S. O. Lilienfeld, S. J. Lynn, &. J. M. Lohr (Eds.), Science

and pseudoscience in clinical psychology (pp. 17–38). New. York, NY: Guilford Press.; see also

Plous, Scott (1993). The Psychology of Judgment and Decision Making. p. 233; Nickerson, Ray-

mond S. (June 1998). "Confirmation Bias: A Ubiquitous Phenomenon in Many Guises". Review

of General Psychology 2 (2): 175–220. doi:10.1037/1089-2680.2.2.17; Joshua Klayman and

Young-Won Ha, Confirmation, Disconfirmation, and Information in Hypothesis Testing, Psy-

chological Review, 1987, Vol.94, No. 2, 211-228.) Currently, too many gender transition indus-

try providers appear to violate the requirement to properly generate, explore, and disclose alter-

native hypotheses for assessments/diagnoses and treatments. In my opinion such failures, in-

cluding the demand that all alternative hypotheses and treatments be banned as forms of

“conversion” therapy, risk institutionalizing confirmation bias —a dangerous form of negligent

practice. See Smith, T. Summary of AMA Journal of Ethics article on cognitive biases, Four

widespread cognitive biases and how doctors can overcome them (e.g., confirmation bias, an-

choring bias, affect heuristic, and outcomes bias) at https://www.ama-assn.org/delivering-

care/ethics/4-widespread-cognitive-biases-and-how-doctors-can-overcome-them. (“Physicians

are human and, therefore, constantly vulnerable to cognitive bias. But this imperfection is not

just theoretical. It can have huge effects on patient care.”)




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      43.   CONFIRMATION BIAS CAN PREVENT COMPLEX, COMPREHENSIVE DIAG-

NOSIS AND TREATMENT EXPLORING ALTERNATIVE HYPOTHESES: By demanding

the immediate and un-investigated “affirmation” of a sex discordant gender identity patient’s re-

quests for so-called “transitioning”—without conducting a detailed, proper, medical assessment

of alternative hypotheses—the gender transition industry is attempting to enforce and institution-

alize the methodological failure of “confirmation bias.” By disparaging as “conversion therapy”

all forms of psychotherapy, coping-and-resilience training, cognitive behavioral therapy for de-

pression/anxiety, the gender transition industry is failing to treat individual patients according to

the basic requirements and principles of competent medical assessment, diagnosis, and treatment.

The current scientific evidence does not support the current treatments nor methods endorsed and

aggressively marketed and demanded by the gender transition industry. Its general refusal to

properly investigate or even consider alternative hypotheses, alternative diagnoses, and alterna-

tive treatments is, in my view, unethical misconduct. For example, many peer reviewed,

properly conducted, published research reports demonstrate that cognitive-behavioral therapy is

a very low-risk, safe, and highly effective treatment for depression and anxiety disorders. See,

e.g., Mor N, Haran D. Cognitive-behavioral therapy for depression. J Psychiatry Relat Sci.

2009;46(4):269-73. PMID: 20635774, https://pubmed.ncbi.nlm.nih.gov/20635774/; (A review of

“Twenty-nine Random Control Trials were included in three separate meta-analyses. Results

showed multi-modal CBT was more effective than no primary care treatment (d =0.59), and pri-

mary care treatment-as-usual (TAU) (d = 0.48) for anxiety and depression symptoms.”). See,

e.g., Twomey, C., O’Reilly, G. and Byrne, M. Effectiveness of cognitive behavioural therapy for

anxiety and depression in primary care: a meta-analysis, Family Practice, Volume 32, Issue 1,

February 2015, pp. 3–15, https://doi.org/10.1093/fampra/cmu060. The political taint is so strong




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that some providers reportedly fail to offer and engage in CBT therapy with depressed/anxious

gender dysphoric patients for fear of being attacked as engaging in “conversion” therapy. Again,

the institutionalization of medical negligence (e.g., confirmation bias) harms vulnerable patients.

      44. PROPER INVESTIGATIONS OF DECEPTIVE MISCONDUCT. Ideological over-

reach can lead to unethical misconduct and licensing violations. Misrepresenting medical-scien-

tific research, deceptively hiding methodological errors, or failing to honestly report ongoing in-

ternational controversies to courts, patients, or guardians should be properly investigated as mis-

conduct. Licensing boards and professional associations produce and should properly enforce

ethics rules and requirements governing the conduct of health care professionals to protect the

rights of patients and parents.

      45.   THE ACTUAL PREVALENCE OF GENDER DYSPHORIA and PATIENTS

THAT IDENTIFY AS GENDER DISCORDANT (“transgender”) IS UNKNOWN BUT IT AP-

PEARS TO BE INCREASING AT A RAPIDLY ACCELERATING RATE THUS SUPPORT-

ING AN ALTERNATIVE HYPOTHESIS OF SOCIAL CONTAGION: Estimates reported in in

the DSM-V were between 0.005% to 0.014% for adult males and 0.002% to 0.003% for adult fe-

males. Thus, gender dysphoria was, until just a few years ago, a very rare condition. It is cur-

rently unknown whether these DSM estimates were falsely low due to under-reporting or:

               whether changing societal acceptance of transgendered identity and the growing

                number of medical centers providing interventions for gender dysphoria has led to

                increased reporting of persons who identify as transgender ;

               whether the reported educational programs aggressively promoting “non-binary”

                identification to elementary to high school students to college students have

                greatly increased the numbers of youth adopting a transgender identity;




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              whether the reported wave of “trans You Tube influencers” watched by millions

               each day as they aggressively “sell” the transgender lifestyle has added to a social

               contagion effect with vulnerable lonely, depression, anxious, or autistic youth; or

              whether other causal processes are at play.

      A key unanswered research question is whether a social contagion process is leading to

vast and rapid increases in the numbers of patients identifying as gender discordant

(“transgender”). How many of the new waves of thousands of cases are ‘false reports’ that will

dissipate with time and normal development over time? For example, the Gender Identity De-

velopment Service in the United Kingdom, which treats only children under the age of 18, re-

ported that it received 94 referrals of children in 2009/2010 and 1,986 referrals of children in

2016/2017, a relative increase of 2,000%. See "GIDS referrals figures for 2016/17," Gender

Identity Development Service, GIDS. NHS.uk (undated), http://gids.nhs.uk/sites/de-

fault/files/content_uploads/referralfigures-2016-17.pdf.

            Reportedly, similar social contagion processes led to tens of thousands of patients

and families being harmed by controversial diagnoses such as multiple personality disorder

(MPD) and controversial interventions including recovered memory therapy (RMT). RMT and

MPD patients, once considered extremely rare (some 300 MPD patients reported worldwide

prior to the 1980s-1990s social contagion epidemic) erupted into a flood of tens of thousands of

patients and affected families in the 1990s. These very controversial disorders and treatments

were greatly reduced by dozens of civil lawsuits against RMT-MPD therapists, international

news exposure of scientific evidence debunking these notions, and international news reporting

of the civil litigation, licensing prosecutions, and licensing revocations of well-known RMT-




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MPD practitioners. (See, e.g., Belluck, P. Memory Therapy Leads to a Lawsuit and Big Settle-

ment [$10.6 Million], The New York Times, Page 1, Column 1, Nov. 6, 1997; Pendergrast, M.

(2017). The repressed memory epidemic: How it happened and what we need to learn from it.

New York, NY: Springer).

          Recent data indicates that the number of people seeking care for gender dysphoria is

rapidly increasing with some estimates as high as 20-fold and more. See Chen, M., Fuqua, J. &

Eugster, E. A. Characteristics of Referrals for Gender Dysphoria Over a 13-Year Period. Journal

of Adolescent Health 58, 369-371, doi:https://doi.org/10.1016/j.jadohealth.2015.11.010 (2016);

4. “GIDS referrals figures for 2016/17,” Gender Identity Development Service, GIDS.NHS.uk

(undated), http://gids.nhs.uk/sites/default/files/content_uploads/referral-figures-2016-17.pdf).

See Zucker K. J. (2017). Epidemiology of gender dysphoria and transgender identity. Sexual

health, 14(5), 404–411. https://doi.org/10.1071/SH17067. Data from England show increases of

4,000% for female to male patients and in America data show increases of 20,000% for young

women (e.g. from .01 to 2%). Estimates vary considerably in relation to how sex-gender identity

discordance is defined. See Zhang, Q., Goodman, M., Adams, N., Corneil, T., Hashemi, L.,

Kreukels, B., Motmans, J., Snyder, R., & Coleman, E. (2020). Epidemiological considerations in

transgender health: A systematic review with focus on higher quality data. International journal

of transgender health, 21(2), 125–137. https://doi.org/10.1080; Poteat, T., Rachlin, K., Lare, S.,

Janssen, A. & Devor, A. in Transgender Medicine: A Multidisciplinary Approach (eds Leonid

Poretsky & Wylie C. Hembree) 1-24 (Springer International Publishing, 2019); Flores AR, Her-

man JL, Gates, GJ, Brown TNT. How Many Adults Identify as Transgender in the United

States? Los Angeles, CA: The Williams Institute; 2016. https://williamsinsti-

tute.law.ucla.edu/wp-content/uploads/Trans-Adults-US-Aug-2016.pdf. Accessed April 28, 2021.




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      46.   EVIDENCE SUPPORTS THE HYPOTHESIS THAT GENDER IDENTITY IS NOT

GENETICALLY OR BIOLOGICALLY DETERMINED: There is strong disconfirming evi-

dence (e.g., Popperian falsifiability) against the theory that gender identity is determined at or

before birth and is unchangeable. This comes from A) identical twin studies where siblings

share genetic complements and prenatal environmental exposure but have differing gender iden-

tities. See Heylens, G. et al. Gender identity disorder in twins: a review of the case report litera-

ture. J Sex Med 9, 751-757, doi:10.1111/j.1743-6109.2011.02567.x (2012) and B) the very re-

cent and massive increase in the numbers of GD patients over a very short time span. This ar-

gues against a biological-genetic hypothesis. See Leinung MC, Joseph J. Changing De-

mographics in Transgender Individuals Seeking Hormonal Therapy: Are Trans Women More

Common Than Trans Men? Transgend Health. 2020 Dec 11;5(4):241-245. doi:

10.1089/trgh.2019.0070. PMID: 33644314; PMCID: PMC7906237.

      47.   REPLICATED RESEARCH EVIDENCE SUPPORTS THE HYPOTHESIS THAT

GENDER IDENTITY IS NOT IMMUTABLE: Further evidence that gender identity is not fixed

and immutable comes from established peer reviewed literature demonstrating that the vast ma-

jority (80-95%) of children who express gender dysphoria revert to a gender identity concordant

with their biological sex by late adolescence. This natural developmental “cure” of gender dys-

phoria requires no direct “treatment” and prevents the hormonal and surgical destruction of nor-

mal, healthy organs and bodily processes (e.g. prevents sterilization of the child). See Singh D,

Bradley SJ, Zucker KJ. A Follow-Up Study of Boys With Gender Identity Disorder. Front Psy-

chiatry. 2021 Mar 29;12:632784. doi: 10.3389/fpsyt.2021.632784. PMID: 33854450; PMCID:

PMC8039393. It is not currently known whether individuals with gender dysphoria persistence

have differing etiologies or severity of precipitating factors compared to desisting individuals.




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See Drummond, K. D., Bradley, S. J., Peterson-Badali, M. & Zucker, K. J. A follow-up study of

girls with gender identity disorder. Dev Psychol 44, 34-45, doi:10.1037/0012-1649.44.1.34

(2008); Steensma, T. D., McGuire, J. K., Kreukels, B. P., Beekman, A. J. & Cohen-Kettenis, P.

T. Factors associated with desistence and persistence of childhood gender dysphoria: a quantita-

tive follow-up study. J Am Acad Child Adolesc Psychiatry 52, 582-590,

doi:10.1016/j.jaac.2013.03.016 (2013).

      48.   VIRTUALLY ALL TRANSGENDER PATIENTS ARE BORN WITH HEALTHY

NORMAL SEX ORGANS AND NO KNOWN BRAIN OR GENETIC ABNORMALITIES:

Most people with gender dysphoria, do not have a disorder of sexual development. As docu-

mented in their medical record, such patients typically have normally formed sexual organs. The

presence of normal, functional sex organs prior to the initiation of hormone administration or

surgical “transition” operations is typical in transgender patients. I note that both hormonal treat-

ments and surgery to remove healthy, normal organs (the genitals of GD patients) destroy the

function of healthy organs (e.g., producing the life-long sterilization of GD patients). Such inju-

rious “treatments” are very controversial and occur nowhere else in medicine that I am aware of

with the exception of requests for the amputation of healthy limbs in patients suffering from the

very controversial “body integrity identity disorder”. See Elliott, T., Body Dysmorphic Disor-

der, Radical Surgery and the Limits of Consent, Medical Law Review, Volume 17, Issue 2, Sum-

mer 2009, Pages 149–182, https://doi.org/10.1093/medlaw/fwp001. In 2000 there was a media

furor when it was disclosed that a Scottish surgeon had operated upon two adult male patients

reportedly suffering from a rare form of a psychological condition known as body integrity iden-

tity disorder, in each case amputating a healthy leg. Since then, the question of whether such

surgery is ethically or legally permissible has been a matter of debate. The subject raises issues




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as to the extent to which it is proper to treat adults with psychiatric or psychological disorders

with radical surgery, particularly where the appropriate diagnosis and treatment of the underlying

disorder is uncertain or disputed. Similarly, gender transition interventions also involve treating

patients “with psychiatric or psychological disorders with radical surgery, where the appropriate

diagnosis and treatment of the underlying disorder is uncertain or disputed.”

      The primary use of psychotherapy as a means to treat body dysmorphic disorder contrasts

with the approaches used by the gender transition industry. See Hadley, S. J., Greenberg, J., &

Hollander, E. (2002). Diagnosis and treatment of body dysmorphic disorder in adolescents. Cur-

rent psychiatry reports, 4(2), 108–113. https://doi.org/10.1007/s11920-002-0043-4; Allen, A., &

Hollander, E. (2000). Body dysmorphic disorder. The Psychiatric clinics of North America,

23(3), 617–628. https://doi.org/10.1016/s0193-953x(05)70184-2.

      49.   THE ETIOLOGY (CAUSE) OF GENDER DYSPHORIA IS CURRENTLY

UNKNOWN and the “TREATMENTS” are of UNCERTAIN EFFICACY. The current theories

and treatments remain experimental and controversial. The etiology of gender dysphoria in indi-

viduals with sex-gender identity discordance remains unknown. Alternative hypotheses include

some as yet unidentified biological cause, prenatal hormone exposure, genetic variation, postna-

tal environmental influences, family dynamics, other forms of mental illness, an abnormal detour

from developmental identity processes, social contagion effects on suggestible-vulnerable sub-

jects, or a combination of multiple factors. Based upon the available evidence, it is most likely

that sex-gender identity discordance is multifactorial with both genetic and environmental influ-

ences, differing in both kind and degree in any affected individual. Importantly, these potential

contributing factors are hypothesized to be contributory, but not determinative of the condition.




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See Saleem, Fatima, and Syed W. Rizvi. “Transgender Associations and Possible Etiology: A

Literature Review.” Cureus 9, no. 12 (2017): e1984.

      50.   THE CONCEPT OF “NEUROLOGICAL SEX” IS EXPERIMENTAL, UNVERI-

FIED, HAS NO KNOWN ERROR RATE and is NOT ACCEPTED BY THE RELEVANT SCI-

ENTIFIC COMMUNITY. The recently coined concept of “neurological sex” as a distinct entity

or a basis for classifying individuals as male or female has no scientific justification. Limited

emerging data has suggested structural and functional differences between brains from normal

and transgender individuals. These data do not establish whether these differences are innate and

fixed or acquired and malleable. The remarkable neuronal plasticity of the brain is well known,

well documented, and has been studied extensively in gender-independent contexts related to

health and disease, learning, and behavior. See Fatima Yousif Ismail, Ali Fatemi, and Michael

V. Johnston, "Cerebral Plasticity: Windows of Opportunity in the Developing Brain," European

Journal of Paediatric Neurology 21, no. 1 (2017).

      51.   GENDER IDENTITY IDEOLOGY IS A POLITICAL, NOT SCIENTIFIC THE-

ORY. A key alternative investigative hypothesis in efforts to understand the rise of reports of

gender discordance and social-political-medical attempts to create a transgender movement is

that such ideas are not based upon sound scientific biological, genetic, or related principles and

data but rather are based upon ideology and driven by political advocacy. Although worldviews

among scientists and physicians differ widely (similar to society at large), science must remain

firmly grounded in testable, valid, and reliable assessments of physical reality—not ideologically

tainted perceptions and belief systems. The inherent link between human sexual biology and tel-

eology (e.g. human reproduction) is self-evident and fixed. Breithaupt H. The science of sex.




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EMBO Rep. 2012;13(5):394. Published 2012 May 1. doi:10.1038/embor.2012.45. Activists of-

ten support clearly contradictory theories and arguments at the same time (e.g. the claim that

Gender Dysphoria (GD) and “trans identity” are“ immutable”, “genetic”, or based on “brain

structures” while simultaneously claiming GD is also “fluid” and thus capable of changing on a

daily basis). That is perhaps because the gender transition industry gains support from contro-

versial ideological foundations. (See, e.g., Pluckrose, and Lindsay, J., Cynical Theories: How

Activist Scholarship Made Everything about Race, Gender, and Identity―and Why This Harms

Everybody, Pitchstone Publishing, August 25, 2020).

      52.   GENDER IDENTITY IDEOLOGY HAS NO SCIENTIFIC BASIS, HAS NEVER

BEEN ACCEPTED BY THE RELEVANT SCIENTIFIC COMMUNITY, and HAS NO

KNOWN NOR PUBLISHED ERROR RATE. The political-ideological claims of proponents of

transgenderism, which include opinions such as “gender identity is the primary factor determin-

ing a person’s sex,” “gender is the only true determinant of sex,” and individuals have “sex as-

signed at birth” must be viewed in their proper ideological context. There is no scientific basis

for redefining sex on the basis of a person’s subjective, psychological sense of “gender”.

      53.   IN CONTRAST TO “TRANSGENDER” IDEOLOGY, THE BIOLOGICAL BASIS

OF SEX IS FIRMLY GROUNDED IN SCIENCE, ACCEPTED BY THE RELEVANT SCIEN-

TIFIC COMMUNITY, AND HAS A VERY LOW ERROR RATE: The prevailing, constant,

tested, proven, and accurate designation of sex as a biological trait grounded in the inherent pur-

pose of male and female anatomy and as manifested in the appearance of external genitalia at

birth remains the proper scientific and medical standard. Redefinition of the classification and

meaning of sex based upon pathologic variation is not established medical fact. See, e.g.,




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Mittwoch, U. (2013), Sex determination. EMBO reports, 14: 588-592.

https://doi.org/10.1038/embor.2013.84

      54.   THE ETHICAL FOUNDATIONS of MEDICINE—FIRST DO NO HARM: The

fundamental purpose of the practice of medicine is to treat disease and alleviate suffering. An

essential tenet of medical practice is to avoid doing harm in the process. Efforts to rely upon

clear, valid, reliable, and definitive evidence on how to best accomplish treatment goals is the es-

sential ethical, professional, scientific, and clinical goals of physicians. The gender transition in-

dustry violates this essential principle by using experimental treatments on vulnerable popula-

tions without properly informing them of the actual risks and limitations of the treatments. See

Jonson AR, Siegler M, Winslade, WJ: Clinical Ethics, New York: McGraw Hill, 1998.

      55.   THE ETHICAL FOUNDATIONS of MEDICINE REQUIRE US TO STRIVE TO

HELP THOSE IN DISTRESS WITH COMPASSION, KINDNESS, and EMPATHY WITH-

OUT VIOLATING PATIENTS’ and PARENTS’ RIGHTS BY ENGAGING IN

EXPERIMENTAL, UNPROVEN INTERVENTIONS LEADING TO PERMANENT

DAMAGE TO MANY PATIENTS—INCLUDING STERILIZATION: Persons with gender

dysphoria as defined in the DSM-V report experiencing significant psychological distress related

to their condition with elevated risk of depression, suicide, and other morbidities. Thus, attempts

to provide effective medical care to affected persons are clearly warranted. Efforts to effectively

treat persons with gender dysphoria require respect for the inherent dignity of those affected,

sensitivity to their suffering, and maintenance of objectivity in assessing etiologies and long-term

outcomes. In my opinion, the use of unproven, experimental treatments on vulnerable patients

and the publication of grossly methodologically defective research are violations of the ethical

foundations of medicine.




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      56.   THREE CURRENT APPROACHES FOR MANAGING GENDER DYSPHORIA:

To date, three approaches have been proposed for treating children with gender dysphoria. See

Zucker, K. J. On the “natural history” of gender identity disorder in children. J Am Acad Child

Adolesc Psychiatry 47, 1361-1363, doi:10.1097/CHI.0b013e31818960cf (2008).) The first ap-

proach, often referred to as “conversion” or “reparative therapy,” is directed toward actively sup-

porting and encouraging children to identify with their biological sex. The second “neutral” or

“watchful waiting” approach, motivated by understanding of the natural history of transgender

identification in children, is to neither encourage nor discourage transgender identification, rec-

ognizing that the vast majority of affected children if left alone are likely to eventually realign

their reports of gender identification with their sex. This approach may also include the use of

scientifically validated treatments (e.g. CBT) for the patient’s anxiety, depression, social skills

deficits or other issues. See van Bentum, J. S., van Bronswijk, S. C., Sijbrandij, M., Lemmens,

L., Peeters, F., Drukker, M., & Huibers, M. (2021). Cognitive therapy and interpersonal psycho-

therapy reduce suicidal ideation independent from their effect on depression. Depression and

anxiety, 10.1002/da.23151. Advance online publication. https://doi.org/10.1002/da.23151; Gal-

lagher, M. W., Phillips, C. A., D'Souza, J., Richardson, A., Long, L. J., Boswell, J. F., Farchione,

T. J., & Barlow, D. H. (2020). Trajectories of change in well-being during cognitive behavioral

therapies for anxiety disorders: Quantifying the impact and covariation with improvements in

anxiety. Psychotherapy (Chicago, Ill.), 57(3), 379–390. https://doi.org/10.1037/pst0000283. The

third, “affirming,” approach is to actively encourage children to embrace transgender identity

with social transitioning followed by hormonal therapy leading to potential surgical interventions

and life-long sterilization. See Walch A, Davidge-Pitts C, Safer JD, Lopez X, TangprichaV,

Iwamoto SJ. Proper Care of Transgender and Gender Diverse Persons in the Setting of Proposed




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Discrimination: A Policy Perspective J Clin Endocrinol Metab. 2021;106(2):305-308.

doi:10.1210/clinem/dgaa816.

      57.   THE “WATCHFUL WAITING” TREATMENT MODALITY INVOLVES NO ME-

DICAL INTERVENTION AND IS CURRENTLY THE BEST SCIENTIFICALLY SUP-

PORTED INTERVENTION FOR YOUNG CHILDREN REPORTING GENDER

DYSPHORIA: Desistance (i.e. realignment of expressed gender identity to be concordant with

sex) provides the greatest lifelong benefit, is the outcome in the vast majority of patients, and

should be maintained as a desired goal. Any scientifically untested intervention that unneces-

sarily interferes with the likelihood of a normal, non-traumatic, developmental resolution of gen-

der dysphoria is unwarranted and potentially harmful. The gender affirming approach, which in-

cludes use of a child’s preferred pronouns, use of sex-segregated bathrooms, other intimate facil-

ities and sleeping accommodations corresponding to a child’s gender identity, has limited, “very

weak,” “sparse” scientific support for short-term alleviation of dysphoria and no long-term out-

comes data demonstrating superiority over the other approaches. (See national reviews of Eng-

land, Sweden, Finland, the Cochrane review, the Griffin review, the Carmichael review and oth-

ers). Claims that the other approaches have been scientifically disproven are simply false. Dec-

ades of peer-reviewed, published scientific research, including the pioneering work of Dr. Ken-

neth Zucker, have supported the efficacy of the “watchful waiting” approach for the majority of

patients experiencing gender dysphoria. See Zucker, K. J. On the “natural history” of gender

identity disorder in children. J Am Acad Child Adolesc Psychiatry 47, 1361-1363,

doi:10.1097/CHI.0b013e31818960cf (2008); Bradley, S. J. & Zucker, K. J. Gender Identity Dis-

order: A Review of the Past 10 YearsG. Journal of the American Academy of Child & Adoles-

cent Psychiatry 36, 872-880, doi:10.1097/00004583-199707000-00008.). In sum, the treatment




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protocols and recommendations of politically influenced, non-science associations (WPATH,

Pediatrics Assn, APA ) who engaged in “voting”, consensus-seeking methodologies (not sci-

ence) are not accepted by the relevant scientific community, are not based upon competent-credi-

ble, methodologically sound science, and have no known, nor published, error rate.

     58.   THE HARMFUL EFFECTS OF “AFFIRMATIVE” TREATMENTS—INCLUDING

PUBERTAL SUPPRESSION—ARE ESTABLISHED and ACCEPTED BY THE RELEVANT

SCIENTIFIC COMMUNITY: “To sum up how puberty suppression works, a thought experi-

ment might be helpful. Imagine two pairs of biologically and psychologically normal identical

twins—a pair of boys and a pair of girls—where one child from each pair undergoes puberty

suppression and the other twin does not. Doctors begin administering GnRH analogue treat-

ments for the girl at, say, age 8, and for the boy at age 9. Stopping the gonadal hormone pathway

of puberty does not stop time, so the puberty- suppressed twins will continue to age and grow—

and because adrenal hormones associated with puberty will not be affected, the twins receiving

GnRH analogue will even undergo some of the changes associated with puberty, such as the

growth of pubic hair. However, there will be major, obvious differences within each set of

twins. The hormone suppressed twins' reproductive organs will not mature: the testicles and pe-

nis of the boy undergoing puberty suppression will not mature, and the girl undergoing puberty

suppression will not menstruate. The boy undergoing puberty suppression will have less muscle

mass and narrower shoulders than his twin, while the breasts of the girl undergoing puberty sup-

pression will not develop. The boy and girl undergoing puberty suppression will not have the

same adolescent growth spurts as their twins. So all told, by the time the untreated twins reach

maturity, look like adults, and are biologically capable of having children, the twins undergoing

puberty suppression will be several inches shorter, will physically look more androgynous and




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childlike, and will not be biologically capable of having children. This is a thought experiment,

but it illustrates some of the effects that puberty suppression would be expected to have on the

development of a growing adolescent's body.” See Hruz, PW, Mayer, LS, and McHugh, PR,

"Growing Pains: Problems with Puberty Suppression in Treating Gender Dysphoria," The New

Atlantis, Number 52, Spring 2017 pp. 3-36.

       59.     THE ENDOCRINE SOCIETY RECOGNIZES THAT THE QUALITY OF EVI-

DENCE FOR “AFFIRMATIVE” TREATMENTS IS CURRENTLY “LOW OR VERY LOW”

(“estimate of effect is very uncertain”). There is no general acceptance of these treatments in the

relevant scientific community. The error rate is unknown and could be very high. The Endo-

crine Society published 2009 clinical guidelines for the treatment of patients with persistent gen-

der dysphoria. See Hembree, W. C. et al. Endocrine treatment of transsexual persons: an Endo-

crine Society clinical practice guideline. J Clin Endocrinol Metab 94, 3132-3154,

doi:10.1210/jc.2009-0345 (2009). The recommendations include temporary suppression of pu-

bertal development of children with GnRH agonists (hormone blockers normally used for chil-

dren experiencing precocious puberty) followed by hormonal treatments to induce the develop-

ment of secondary sexual traits consistent with one’s gender identity. In developing these guide-

lines, the authors assessed the quality of evidence supporting the recommendations made with

use of the GRADE (Recommendations, Assessment, Development, and Evaluation) system for

rating clinical guidelines. As directly stated in the Endocrine Society publication, “the strength

of recommendations and the quality of evidence was low or very low.” According to the

GRADE system, low recommendations indicate that “[f]urther research is very likely to have an

important impact on our confidence in the estimate of effect and is likely to change the esti-

mate.” Very low recommendations mean that “any estimate of effect is very uncertain.” (See




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Guyatt G H, Oxman A D, Vist G E, Kunz R, Falck-Ytter Y, Alonso-Coello P et al. GRADE: an

emerging consensus on rating quality of evidence and strength of recommendations BMJ 2008;

336 :924 doi:10.1136/bmj.39489.470347.AD). An updated set of guidelines was published in

September of 2017. See Hembree, W. C. et al. Endocrine Treatment of Gender-Dysphoric/Gen-

der-Incongruent Persons: An Endocrine Society Clinical Practice Guideline. J Clin Endocrinol

Metab, doi:10.1210/jc.2017-01658 (2017). The low quality of evidence presented in this docu-

ment persists to the current day, as the controversy over these “treatments” is accelerating in re-

cent years.

     60.      THE WPATH GUIDELINES (7th version) NOTE SERIOUS LIMITATIONS OF

THE EXISTING SCIENTIFIC DATA: Clinical Practice Guidelines published by the World

Professional Association for Transgender Health (WPATH) - (an advocacy organization whose

positions are based on voting and not a scientific, evidence-based process) which is currently in

its 7th iteration, similarly, though less explicitly, acknowledge the limitation of existing scientific

data supporting their recommendations given and “the value of harm-reduction approaches”.

Coleman, E., Bockting, W., Botzer, M., Cohen-Kettenis, P., DeCuypere, G., Feldman, J., Fraser,

L., Green, J., Knudson, G., Meyer, W. J., Monstrey, S., Adler, R. K., Brown, G. R., Devor, A.

H., Ehrbar, R., Ettner, R., Eyler, E., Garofalo, R., Karasic, D. H., . . . Zucker, K. (2012). Stand-

ards of care for the health of transsexual, transgender, and gender-nonconforming people, ver-

sion 7. International Journal of Transgenderism, 13(4), 165–232.

https://doi.org/10.1080/15532739.2011.700873.

       61. ADMINISTERING HORMONES TO A CHILD WHOSE GENDER DYSPHORIA

IS HIGHLY LIKELY (80%+) TO RESOLVE IS RISKY, UNSCIENTIFIC and UNETHICAL.

Iatrogenic damages, including life-long sterility, stunted growth, increased heart attack risk, etc.,




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are often irreversible. Treatment of gender dysphoric children who experience persistence of

symptoms with hormones (pubertal suppression and cross-hormone therapy) carries significant

risk. It is generally accepted, even by advocates of transgender hormone therapy, that hormonal

treatment impairs fertility and often result in sterility, which in many cases is irreversible. See

Nahata, L., Tishelman, A. C., Caltabellotta, N. M. & Quinn, G. P. Low Fertility Preservation Uti-

lization Among Transgender Youth. Journal of Adolescent Health 61, 40-44,

doi:https://doi.org/10.1016/j.jadohealth.2016.12.012 (2017)). Emerging data also show that

treated patients have lower bone density which may lead to increased fracture risk later in life.

See Klink, D., Caris, M., Heijboer, A., van Trotsenburg, M. & Rotteveel, J. Bone Mass in Young

Adulthood Following Gonadotropin-Releasing Hormone Analog Treatment and Cross-Sex Hor-

mone Treatment in Adolescents With Gender Dysphoria. The Journal of Clinical Endocrinology

& Metabolism 100, E270-E275, doi:10.1210/jc.2014-2439 (2015)). Other potential adverse ef-

fects include disfiguring acne, high blood pressure, weight gain, abnormal glucose tolerance,

breast cancer, liver disease, thrombosis, and cardiovascular disease. See Seal, L. J. A review of

the physical and metabolic effects of cross-sex hormonal therapy in the treatment of gender dys-

phoria. Annals of Clinical Biochemistry 53, 10-20, doi:10.1177/0004563215587763 (2016);

Banks, K., Kyinn, M., Leemaqz, S. Y., Sarkodie, E., Goldstein, D., & Irwig, M. S. (2021). See

also, Blood Pressure Effects of Gender-Affirming Hormone Therapy in Transgender and Gen-

der-Diverse Adults. Hypertension (Dallas, Tex.: 1979), HYPERTENSIONAHA12016839. Ad-

vance online publication. https://doi.org/10.1161/HYPERTENSIONAHA.120.16839; Getahun,

D., Nash, R., Flanders, W. D., Baird, T. C., Becerra-Culqui, T. A., Cromwell, L., Hunkeler, E.,

Lash, T. L., Millman, A., Quinn, V. P., Robinson, B., Roblin, D., Silverberg, M. J., Safer, J., Slo-

vis, J., Tangpricha, V., & Goodman, M. (2018). Cross-sex Hormones and Acute Cardiovascular




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Events in Transgender Persons: A Cohort Study. Annals of internal medicine, 169(4), 205–213.

https://doi.org/10.7326/M17-2785; Spyridoula Maraka, Naykky Singh Ospina, Rene Rodriguez-

Gutierrez, Caroline J Davidge-Pitts, Todd B Nippoldt, Larry J Prokop, M Hassan Murad, Sex

Steroids and Cardiovascular Outcomes in Transgender Individuals: A Systematic Review and

Meta-Analysis, The Journal of Clinical Endocrinology & Metabolism, Volume 102, Issue 11, 1

November 2017, Pages 3914–3923, https://doi.org/10.1210/jc.2017-01643.

      62.   LONG TERM EFFECTS ARE UNKNOWN. Such treatments are not generally ac-

cepted by the relevant scientific community and have no known nor published error rate. Since

strategies for the treatment of transgender children as summarized by the Endocrine Society

guidelines are relatively new, long-term outcomes are unknown. Evidence presented as support

for short-term reductions in psychological distress following social transition in a “gender affir-

ming” environment remains inconclusive. When considered apart from advocacy-based agen-

das, multiple potential confounders are evident. The most notable deficiencies of existing re-

search are the absence of proper control subjects and lack of randomization in study design. See

Hruz, P. W. Deficiencies in Scientific Evidence for Medical Management of Gender Dysphoria.

Linacre Q 87, 34-42, doi:10.1177/0024363919873762 (2020). Although appropriate caution is

warranted in extrapolating the outcomes observed from prior studies with current treatments,

adults who have undergone social transition with or without surgical modification of external

genitalia continue to have rates of depression, anxiety, substance abuse and suicide far above the

background population. See Adams, N., Hitomi, M. & Moody, C. Varied Reports of Adult

Transgender Suicidality: Synthesizing and Describing the Peer-Reviewed and Gray Literature.

Transgend Health 2, 60-75, doi:10.1089/trgh.2016.0036 (2017); see also Dhejne, C. et al. Long-




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term follow-up of transsexual persons undergoing sex reassignment surgery: cohort study in

Sweden. PLoS One 6, e16885, doi:10.1371/journal.pone.0016885 (2011)).

      63.   MEDICAL TREATMENTS CONTRARY TO THE SCIENCE COULD RESULT

IN IRREVERSIBLE HARMS TO MANY PATIENTS WHO WOULD OTHERWISE HAVE

RECOVERED NATURALLY FROM GENDER DYSPHORIA: Of particular concern is the

likelihood that naively requested gender transition “treatments” and social changes could inter-

fere with known very high rates of natural-untreated resolution of sex-gender discordance. Any

activity that encourages or perpetuates transgender persistence for those who would otherwise

desist could cause significant harm, particularly in light of the current treatment paradigm for

persisting individuals. As noted, sterility can often be expected with hormonal or surgical dis-

ruption of normal gonadal function. See Cheng PJ, Pastuszak AW, Myers JB, Goodwin IA, Ho-

taling JM. Fertility concerns of the transgender patient. Transl Androl Urol. 2019 Jun;8(3):209-

218. doi: 10.21037/tau.2019.05.09. PMID: 31380227; PMCID: PMC6626312.

      64. YOUNG CHILDREN and PARENTS ARE OFTEN NOT PROPERLY INFORMED

or ARE NOT COMPETENT TO GIVE INFORMED CONSENT TO PROCEED WITH EX-

PERIMENTAL, HAZARDOUS TREATMENTS THAT COULD POTENTIALLY RESULT IN

PERMANENT STERILITY: This is a particularly concerning issue given that children are

likely to be incapable of giving truly informed consent. See Geier, C. F. Adolescent cognitive

control and reward processing: Implications for risk taking and substance use. Hormones and Be-

havior 64, 333-342, doi:https://doi.org/10.1016/j.yhbeh.2013.02.008 (2013). This concern re-

mains valid when applied to hormonal or surgical treatments that will result in lifelong sterility.

In addition, parents are often manipulated and coerced by misinformed political activists or pro-

viders who threaten them with dire warnings that the only two options are “treatment or suicide”.




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These “threats” ignore data that challenge this biased assumption. See D’Angelo, R., Syrulnik,

E., Ayad, S. et al. One Size Does Not Fit All: In Support of Psychotherapy for Gender Dyspho-

ria. Arch Sex Behav 50, 7–16 (2021). https://doi.org/10.1007/s10508-020-01844-2

     65.   SOCIAL CONTAGION HAS BEEN IMPROPERLY IGNORED BY PROVIDERS:

Social and psychological support with dignity for adolescents with gender dysphoria does not ne-

cessitate acceptance of a unproven, experimental understanding of human sexuality. Rather, pol-

icy requirements including social contagion promoting educational processes that can increase

the prevalence and persistence of transgender identification have significant potential for induc-

ing long-term harm to affected children.

     66.   COMPETENT, METHODOLOGICALLY SOUND, LONG-TERM TREATMENT

OUTCOME RESEARCH ON GENDER DYSPHORIA INTERVENTIONS HAS NEVER

BEEN DONE: There remains a significant and unmet need to improve our understand of the bi-

ological, psychological, and environmental basis for the manifestation of patient reports of dis-

cordance of gender identity and biological sex in affected individuals. (Olson-Kennedy, J. et al.

Research priorities for gender nonconforming/transgender youth: gender identity development

and biopsychosocial outcomes. Current Opinion in Endocrinology, Diabetes and Obesity 23,

172-179, (2016)). In particular, there is a concerning lack of randomized controlled trials com-

paring outcomes of youth with gender dysphoria who are provided public encouragement for

“affirming” social gender transition and how such transitioning affects the usual and natural pro-

gression to resolution of gender dysphoria in most affected children. Such studies can be ethi-

cally designed and executed with provisions for other dignity affirming measures to both treat-

ment groups. See Sugarman J. Ethics in the design and conduct of clinical trials. Epidemiol Rev.




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2002;24(1):54-8. doi: 10.1093/epirev/24.1.54. PMID: 12119856; And https://clini-

calcenter.nih.gov/recruit/ethics.html

     67. DUE TO THE LACK OF QUALITY, CREDIBLE SUPPORTIVE RESEARCH

GENDER AFFIRMING INTERVENTIONS REMAIN EXPERIMENTAL and HIGHLY

CONTROVERSIAL. Gender identity is consolidated during puberty and adolescence as young

people’s bodies become more sexually differentiated and mature. How this normally happens is

not well understood, so it is imperative to be cautious about interfering with this complex natural

process. Far from being cautious and prudent in using puberty blockers to treat gender dyspho-

ria, too many providers engaged in gender affirming medical interventions are conducting an un-

ethical and risky experiment that does not come close to the ethical standards demanded in other

areas of medicine. No one really knows all the potential consequences of puberty blocking as a

treatment for gender dysphoria, but there are some known effects of pubertal suppression on

children who are physiologically normal, and these carry long-term health risks. Children placed

on puberty blockers have slower rates of growth in height, and an elevated risk of low bone-min-

eral density. Another possible effect of blocking normally timed puberty is alteration of normal

adolescent brain maturation. (See Arain, M., Haque, M., Johal, L., Mathur, P., Nel, W., Rais, A.,

Sandhu, R., & Sharma, S. (2013). Maturation of the adolescent brain. Neuropsychiatric disease

and treatment, 9, 449–461. https://doi.org/10.2147/NDT.S39776).

           When followed by cross-sex hormones, known and potential effects include disfigur-

ing acne, high blood pressure, weight gain, abnormal glucose tolerance, breast cancer, liver dis-

ease, thrombosis, and cardiovascular disease. Tragically, those children who persist in their

transgender identity and take puberty blockers and cross-sex hormones are expected to become

sterile. Given what we already know about puberty blocking and how much remains unknown, it




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is not surprising that the use of GnRH analogues for puberty suppression in children with gender

dysphoria is not FDA-approved. The off-label prescription of these drugs is legal but unethical

outside the setting of a carefully controlled and supervised clinical trial. See Hruz, Mayer, and

McHugh, “Growing Pains.” Trans activist professionals act as if there is a firm scientific con-

sensus that it is safe and effective to treat gender dysphoria by using GnRH analogues to sup-

press normal puberty indefinitely. But this is far from the reality, as I, together with Mayer and

McHugh, have pointed out: “Whether puberty suppression is safe and effective when used for

gender dysphoria remains unclear and unsupported by rigorous scientific evidence.” Thus, it is

not generally accepted by the relevant scientific community. Instead of regarding puberty block-

ing as a “prudent and scientifically proven treatment option,” courts of law, parents, and the

medical community should view it as a “drastic and experimental measure.” (See Hruz, Mayer,

and McHugh, 2017.) The use of any experimental medical treatment on children calls for “espe-

cially intense scrutiny, since children cannot provide proper legal consent to experimental medi-

cal treatments—especially treatments that may harm natural gender processes and produce steril-

ity.

             The rapid acceptance of puberty suppression as a treatment for gender dysphoria with

little scientific support or scrutiny should raise concerns about the welfare of the children who

receive such treatments. In particular, we should question the claim that it is both physiologi-

cally and psychologically “reversible.” This includes the alteration of a temporally dependent

developmental process. After an extended period of pubertal suppression one cannot “turn back

the clock” and reverse changes in the normal coordinated pattern of adolescent psychological de-

velopment and puberty. (See Hruz, Mayer, and McHugh, “Growing Pains, The New Atlantis: A

Journal of Technology and Society, Spring 2017, pg 3-36; see also Vijayakumar N, Op de Macks




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Z, Shirtcliff EA, Pfeifer JH. Puberty and the human brain: Insights into adolescent development.

Neurosci Biobehav Rev. 2018 Sep;92:417-436. doi: 10.1016/j.neubiorev.2018.06.004. Epub

2018 Jul 1. PMID: 29972766; PMCID: PMC6234123; see also Choudhury S, Culturing the ado-

lescent brain: what can neuroscience learn from anthropology?, Social Cognitive and Affective

Neuroscience, Volume 5, Issue 2-3, June/September 2010, Pages 159–167,

https://doi.org/10.1093/scan/nsp030

      68.   ACTIVIST ATTEMPTS TO CONTROL PUBLIC DISCUSSION ARE HARMFUL

TO SCIENCE: The controversies regarding the risks and potential dangers of the transgender

industry cannot be resolved by “cancel culture.” As Steven Levine, MD of Case Western has

noted, “Among psychiatrists and psychotherapists who practice in the area, there are currently

widely varying views concerning both the causes of, and appropriate therapeutic responses to,

gender dysphoria in children. Dr. Levine went on to state, “Existing studies do not provide a ba-

sis for a scientific conclusion as to which therapeutic response results in the best long-term out-

comes for affected individuals.” Although political advocates have asserted that the “affirmation

therapy” model is accepted and agreed with by the overwhelming majority of mental health pro-

fessionals, many respected academics and providers in the field strongly disagree. For example,

J. Cantor, Ph.D. (McGill) published the following opinion in 2019, “almost all clinics and pro-

fessional associations in the world” do not use “gender affirmation” for prepubescent children

and instead “delay any transitions until after the onset of puberty.” See J. Cantor (2019),

Transgender and Gender Diverse Children and Adolescents: Fact-Checking of AAP Policy, J. of

Sex& Marital Therapy, 1, DOI: 10.1080.0092623X.2019.1698481.

      69.   In the midst of this ongoing international, raging controversy, transgender and allied

political activists have attempted to silence open public debate on the risks and benefits of




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transgender medical procedures and political ideologies. For example, Ryan Anderson, Ph.D., a

policy analyst, wrote a book analyzing the scientific and policy issues involved in assessing the

risks and benefits of the current practices of the transgender treatment industry. See Anderson,

R., When Harry Became Sally: Responding to the Transgender Moment, Encounter Books. De-

spite widespread scientific interest and positive reviews, the book was banned from sale by the

Amazon Corporation. Too many lives are at stake for such blatant suppression of open scientific

discussion. Several positive reviews of Dr Ryan’s book were posted by notable members of the

relevant scientific-ethical community including: Paul McHugh, MD, University Distinguished

Professor of Psychiatry, Johns Hopkins University School of Medicine (Dr McHugh was trained

at Harvard College and Harvard Medical School. He served as the Chairman of Psychiatry at

Johns Hopkins Medical School for decades) and Melissa Moschella, PhD, who served at Colum-

bia University as Director of the Center for Biomedical Ethics in the Department of Medicine

and currently at The Catholic University of America. (Dr. Moschella was trained at Harvard Col-

lege and her PhD is from Princeton University) and Maureen Condic, Associate Professor of

Neurobiology and Adjunct Professor of Pediatrics, University of Utah Medical School. (Dr. Con-

dic’s training includes a B.A. from the University of Chicago, and a Ph.D. from the University of

California, Berkeley) and John Finnis, Ph.D., Professor of Law at Oxford University for 40

years, now Emeritus. (LL.B. from Adelaide University (Australia) and Ph.D. in 1965 from Ox-

ford University as a Rhodes Scholar at University College Oxford.)

     International experts from a variety of relevant fields consider the issue of proper and

harmful transgender treatments to be a serious controversy that must not be silenced. Other

scholars in this contentious field have been threatened and/or silenced by the political and ideo-




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logical allies of the gender transition industry. Consider, for example, the case of Alan Joseph-

son, MD, a distinguished psychiatrist. See Kearns, M., Gender Dissenter Gets Fired, National

Review, Jan 12, 2019. “Allan M. Josephson is a distinguished psychiatrist who, since 2003, has

transformed the division of child and adolescent psychiatry and psychology at the University of

Louisville from a struggling department to a nationally acclaimed program. In the fall of 2017

he appeared on a panel at the Heritage Foundation and shared his professional opinion on the

medicalization of gender-confused youth. The university responded by demoting him and then

effectively firing him.” See https://www.nationalreview.com/2019/07/allen-josephson-gender-

dissenter-gets-fired/. Theories in the midst of an international firestorm of controversy are clearly

not “generally accepted” by the relevant scientific community. The ongoing attempts to ban

books and aggressively silence academic debate or “cancel” professionals with alternative views

are clear demonstrations of the ongoing and intense controversies surrounding the gender transi-

tion industry.

      70. Consider also the example of Dr. Lisa Littman at Brown University Medical School.

Dr. Littman conducted extensive surveys to assess the experiences of parents involved in an

online community for parents of transgender children or “gender skeptical” parents and children.

There were 256 completed surveys. Their children were mostly adolescents or young adults.

The parents reported that about 80 percent of their (mostly adolescent) children announced their

transgender identity “out of the blue” without the long-term history generally associated with

gender dysphoria. The parents also reported that transgender identity was linked with mental

health issues (an often repeated, reliable finding in multiple studies from multiple nations). The

parents also reported that after their children came out as transgender, their children’s mental

health worsened, as did relationships with family members. The parents also reported a decline




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in the children's social adjustment after the announcement (e.g., more isolation, more distrust of

non-transgender information sources, etc.).

     The publication of the Littman paper was greeted by the outrage of trans activists who de-

nounced the paper and Dr. Littman, calling it “hate speech and transphobic.” Brown University

had initially produced a press release for the paper stating the Littman research provided bold

new insights into transgender issues. Once the political attacks began, the University removed it

from their announcements. Fortunately, in this case, there was also a counter-outcry from scien-

tists decrying Brown University and the political activists for threatening academic freedom and

censoring scientific research that might assist in the treatment of gender dysphoria.

     There was also reportedly an academic petition signed by members of the relevant scien-

tific community. For example, Lee Jussim, PhD., Chair of the Psychology Department at Rut-

gers University wrote, “If the Littman study is wrong, let someone produce evidence that it is

wrong. Until that time, if the research p*sses some people off, who cares? Galileo and Darwin

p*ssed people off too. Brown University should be ashamed of itself for caving to sociopolitical

pressure. Science denial, anyone?” Similarly, Richard B. Krueger, MD (a Harvard Medical

School graduate) of Columbia University College of Physicians and Surgeons, board certified

psychiatrist specializing in the treatment of sexual disorders wrote, “Brown University’s actions

in its failure to support Dr. Littman’s peer reviewed research are abhorrent.” Similarly, Nicholas

Wolfinger, PhD (UC Berkeley, UCLA), currently Professor of Family and Consumer Studies at

the University of Utah wrote: “The well-being of trans youth and other sexual minorities is best

served by more research, not less.”

       The onslaught of attacks resulted in the journal asking Dr. Littman to publish a “cor-

rected” version of the paper. After careful review, the paper was again published with additional




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information but no methodological nor data corrections—as no such errors were found. See

https://www.psychologytoday.com/us/blog/rabble-rouser/201903/rapid-onset-gender-dysphoria.

See also Littman, L., Correction: Parent reports of adolescents and young adults perceived to

show signs of a rapid onset of gender dysphoria, PLOS ONE March 19, 2019,

https://doi.org/10.1371/journal.pone.0214157. Dr. Littman’s paper was a key initial step in the

alternative investigative hypothesis that the very recent and enormous increase in teenage girls

seeking “gender transitioning” is due to a social contagion process at school, in peer groups, and

on the internet. This theory has yet to be tested in detail.

      71. UNDERLYING BIOLOGY IS NOT CHANGED BY ALTERING BODILY FEA-

TURES TO “PASS” AS THE OPPOSITE SEX, NOR DO SUCH ALTERATIONS CHANGE

DISEASE VULNERABILITIES ASSOCIATED WITH GENETICALLY-DEFINED SEX: De-

spite the increasing ability of hormones and various surgical procedures to reconfigure some

male bodies to visually pass as female, or vice versa, the biology of the person remains as de-

fined by genetic makeup, normatively by his (XY) or her (XX) chromosomes, including cellular,

anatomic, and physiologic characteristics and the particular disease vulnerabilities associated

with that chromosomally-defined sex. (See “Institute of Medicine (US) Committee on Under-

standing the Biology of Sex and Gender Differences. Exploring the Biological Contributions to

Human Health: Does Sex Matter?” Wizemann TM, Pardue ML, editors. Washington (DC): Na-

tional Academies Press (US); 2001. PMID: 25057540.) For instance, the XX (genetically fe-

male) individual who takes testosterone to stimulate certain male secondary sex characteristics

will nevertheless remain unable to produce sperm and father children. Contrary to assertions and

hopes that medicine and society can fulfill the aspiration of the individual with sex-discordant




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gender identity to become “a complete man” or “a complete woman,” this is not biologically at-

tainable. It is possible for some adolescents and adults to pass unnoticed as the opposite gender

that they aspire to be—but with limitations, costs, and risks, as I detail later. See S. Levine

(2018), Informed Consent for Transgendered Patients, J. of Sex & Marital Therapy, at 6, DOI:

10.1080/0092623X.2018.1518885 (“Informed Consent”); S. Levine (2016), Reflections on the

Legal Battles Over Prisoners with Gender Dysphoria, J. Am. Acad Psychiatry Law 44, 236 at

238 (“Reflections”).

      72.   ONE OF THE MOST CONTROVERSIAL AND CONTENTIOUS ISSUES IN

TRANSGENDER SCIENCE IS THE RECENT EPIDEMIC OF ADOLESCENT FEMALE TO

MALE GENDER DISCORDANT PATIENTS: How prevalent is the Sudden Onset Gender

Dysphoria Epidemic in Teen Girls first described by the research of Dr. Littman at Brown Uni-

versity? In the UK, where centralized medical care provides data to track health care phenome-

non, the number of adolescent girls seeking sex transitioning exploded over 4,000% in the last

decade. Similarly, in the US, where we lack the same kinds of centralized health care data, it has

been reported that in 2018 2% (2 in 100) of high school students identified on surveys as

“transgender”—this is 200 times greater response— a 20,000% increase—over reports during

past decades which showed a rate of only .01 percent (one in 10,000 people). See Johns MM,

Lowry R, Andrzejewski J, et al. Transgender Identity and Experiences of Violence Victimiza-

tion, Substance Use, Suicide Risk, and Sexual Risk Behaviors Among High School Students—

19 States and Large Urban School Districts, 2017. MMWR Morb Mortal Wkly Rep 2019;

68:67–71.




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            Along with this increase in transgender patients and identifiers, has come a radical

and recent transformation of the patient population from early onset males to rapid onset adoles-

cent girls. Thus currently the majority of new patients with sex-gender discordance are not

males with a long, stable history of gender dysphoria since early childhood—as they were for

decades—but instead adolescent females with no documented long-term history of gender dys-

phoria—thus they experienced “rapid onset” transgender identification. Whole groups of female

friends in colleges, high schools, and even middle schools across the country are reportedly com-

ing out together in peer group clusters as “transgender.” These are girls who — by detailed pa-

rental reports and self-reports—had never experienced any discomfort in their biological sex un-

til they heard a coming-out story from a speaker at a school assembly or discovered the internet

(YouTube) community of trans “influencer video stars.”

            This extraordinary change in new patient demographics appears more consistent with

a theory of social contagion than of “immutable identification,” “brain structures,” “genetics,” or

other biological hypotheses. Many unsuspecting parents, whose children have never shown any

signs for gender discordant feelings or ideas, are awakening to find their daughters in thrall to

hip trans YouTube stars and “gender-affirming” educators and activist therapists who push life-

changing interventions on these young girls—including double mastectomies and hormonal pu-

berty blockers that can potentially cause permanent infertility. See Littman L. Parent reports of

adolescents and young adults perceived to show signs of a rapid onset of gender dysphoria. PLoS

One. 2018 Aug 16;13(8):e0202330. doi: 10.1371/journal.pone.0202330. Erratum in: PLoS One.

2019 Mar 19;14(3):e0214157. PMID: 30114286; PMCID: PMC6095578.




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     73. GENERATING, CONSIDERING, AND TESTING ALTERNATIVE THEORIES

PREVENTS CONFIRMATION BIAS. Several theories should be considered, as the science is

currently unclear:

           We should consider the genetics theory of transgender identity. But his theory can-

not explain the rapid expansion of new GD cases (a 4,000% to 20,000% increase), as our ge-

nome is simply not changing that fast.

           We should consider the “brain structures” theory of transgender identity. Yet there is

only weak medical evidence to support this theory, and it cannot explain the rapid expansion of

new gender dysphoria cases because brain structures are not changing that fast.

           We should consider the theory that increased social acceptance of the transgender

lifestyle is leading many people who were transgender all along to come out. Yet this theory

fails to explain why males and older women are not also coming out in the same huge numbers

and not coming out in “social peer group clusters,” as adolescent females are reportedly doing.

           We should consider the “immutable gender identity” theory. Yet this theory fails to

explain the rapid expansion of patients. In addition, the “immutable” theory fails to explain the

rapid expansion of “Rapid Onset Gender Dysphoria” reports—newly “trans” adolescent girl pa-

tients who reportedly showed no indication of gender dysphoria previously.

           Having considered alternative theories—to avoid confirmation bias—it appears that

another alternative theory might well be the most applicable, rational theory to explain the ex-

treme, recent increases in the GD patient population: the Social Contagion hypothesis. Social

contagion effects are also reportedly responsible for the massive, rapid increase in “recovered re-

pressed memory” cases and also the extraordinary expansion of “multiple personality disorder”




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cases in the 1990s. I also note the alternative investigative hypothesis that social contagion ef-

fects would appear to be psychological/psychiatric problems and NOT physical medical prob-

lems requiring hormonal or surgical “treatments.”

      74. ADOLESCENT FEMALE PSYCHOLOGY RESEARCH SHOWS WELL-DOCU-

MENTED PEER INFLUENCES on ANOREXIA, BULIMIA, DRUG ABUSE, and now GEN-

DER DISCORDANT (“TRANSGENDER”) SYMPTOMS. The Social Contagion theory for the

large increase in reported Rapid Onset Gender Dysphoria in adolescent girls appears to be the

most rational explanation for the reportedly dramatic (rapid, media related, hundreds of times in-

crease, YouTube influenced, Peer Group influenced) explosion of gender discordant patients

among adolescent female friend groups.

            Adolescent female social contagion effects in psychiatric illness are well-known and

well documented. Consider, for example, Bulimia and Anorexia — both of which spread rapidly

in adolescent female friend groups. Se Allison S, Warin M, Bastiampillai T. Anorexia nervosa

and social contagion: clinical implications. Aust N Z J Psychiatry. 2014 Feb;48(2):116-20. doi:

10.1177/0004867413502092. Epub 2013 Aug 22. PMID: 23969627.

            It has been known for decades that adolescent females are highly prone to social con-

tagion effects spreading psychiatric symptoms—e.g., Anorexia, Bulimia, Drug Abuse, etc.) are

well known to be subject to “cluster” and “friendship” contagions as teens girls (and especially

troubled teen girls) co-ruminate and share feelings at very high rates and with emotional depth.

See, e.g., Crandall CS. Social contagion of binge eating. J Pers Soc Psychol. 1988

Oct;55(4):588-98. doi: 10.1037//0022-3514.55.4.588. PMID: 3193348.




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           For example, Prof. Amanda Rose at the University of Missouri has conducted re-

search to understand why adolescent girls show such susceptibility to social contagion with psy-

chiatric symptoms—“Teenage girls share symptoms via social contagions because their friend-

ship processes involve “co-rumination,” that is, taking on the emotional pain and concerns of

their friends.” See R. Schwatz-Mette and A. Rose, Co-Rumination Mediates Contagion of Inter-

nalizing Symptoms Within Youths’ Friendships, Developmental Psychology 48(5):1355-65,

February 2012, DOI: 10.1037/a0027484 Developmental Psychology, Vol. 48, No. 5, 1355–1365

0012-1649/12/$12.00 DOI: 10.1037/a0027484. This could be one explanation for why we are

hearing increasing reports of“ clusters” and “friend groups” of teen girls who are adopting a

“transgender identity” and “transitioning” as friends together.

     75.   IDEOLOGICAL-POLITICAL PRESSURE SEEKS TO INSTITUTIONALIZE THE

SYSTEMATIC NEGLIGENCE and METHODOLOGICAL ERROR OF CONFIRMATION

BIAS: Because of the efforts of ill-informed legal and medical professionals and the intense ac-

tivity of political trans activists— health providers (in many fields) are now NOT permitted to

openly asks questions, properly investigate alternative diagnoses, or explore alternative hypothe-

ses for the symptoms of gender dysphoria patients. They are compelled (sometimes under fear

of employment termination or legal attacks) to adopt a patient’s self-diagnosis and only support

“transgender affirming” medical interventions. These providers are thus being pressured and/or

compelled to commit the scientific and medical malpractice of Confirmation Bias. (See detailed

discussion above on confirmation bias.) Unexamined “affirming” medical interventions—based

on uncorroborated patient self-reports, assessed by mental health professionals with no method-

ology for discerning true from false patient reports, with no ability to decipher accurate from

contaminated “memories,” with no alternative treatments offered, and no alternative explanations




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(e.g., social contagion) explored—are medical, psychological, surgical, and endocrinological

negligence and a violation of the most basic, essential scientific and medical practices and meth-

ods requiring the generation and testing of alternative hypotheses. In sum, the industry actually

requires “confirmation bias”—one of the most serious of all methodological diagnostic failures.

See e.g. Mendel, R. et. al., Confirmation bias: why psychiatrists stick to wrong preliminary diag-

noses, Psychological Medicine, Oxford University Press, 20 May 2011 (“Diagnostic errors can

have tremendous consequences because they can result in a fatal chain of wrong decisions. Ex-

perts assume that physicians’ desire to confirm a preliminary diagnosis while failing to seek con-

tradictory evidence is an important reason for wrong diagnoses. This tendency is called ‘confir-

mation bias.”); see also, Doherty, T.S. and Carroll, A.E., Believing in Overcoming Cognitive Bi-

ases, American Medical Association Journal of Ethics, 2020;22(9):E773-778 (“Like all humans,

health professionals are subject to cognitive biases that can render diagnoses and treatment deci-

sions vulnerable to error. Learning effective debiasing strategies and cultivating awareness of

confirmation, anchoring, and outcomes biases and the affect heuristic, among others, and their

effects on clinical decision making should be prioritized in all stages of medical education….

Confirmation bias is the selective gathering and interpretation of evidence consistent with current

beliefs and the neglect of evidence that contradicts them.); see also, Hershberger PJ, Part HM,

Markert RJ, Cohen SM, Finger WW. Teaching awareness of cognitive bias in medical decision

making. Acad Med. 1995;70(8):661.

     76.   GIVEN THE LACK OF RESEARCH, IT IS RECKLESS TO PERMIT CHILDREN

TO SELF-DIAGNOSE WHEN THE “TREATMENTS” WILL PRODUCE LIFE-LONG

STERILIZATION and/or OTHER PERMANANT INJURIES TO NORMAL, HEALTHY OR-

GANS: In some jurisdictions in America now child or adolescent patients can—without parental




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permission or even parental notification—receive hormones to begin the experimental treatment

of “transitioning” with no competent diagnostic investigation or professional assessment of

gender dysphoria and no competent medical investigation, testing, or consideration of alternative

hypotheses. Worst of all, providers can be coerced by law, collegial pressures, or “cancel cul-

ture” ideology to comply with the troubled child’s/teen’s/patient’s amateur self-diagnosis or be

faced with potentially career ending allegations of “conversion therapy.” Politically tainted,

pseudo-science, experimental, unproven medical practices have caused grave harm to millions in

the past. (See the discussion of lobotomies, repressed memory therapy, multiple personality

therapy, rebirthing therapy, etc. above.) Unethical, politically driven, experimental medical er-

rors should not be repeated today.

     77. EXPERIMENTATION on SEX-GENDER DISCORDANT PATIENTS IS

ESPECIALLY LIKELY TO CAUSE HARM TO MINORITY PATIENTS FROM

HISTORICALLY MARGINALIZED COMMUNITIES. The development of effective strate-

gies to impact long-term physical and psychological health in patients who experience sex-dis-

cordant gender identity should be undertaken with recognition of the disproportionate burden of

this condition in a number of vulnerable minority populations of children. These include:

              children with a prior history of psychiatric illness (See, e.g., Kaltiala-Heino, R.,

               Sumia, M., Työläjärvi, M., & Lindberg, N. (2015). Two years of gender identity

               service for minors: overrepresentation of natal girls with severe problems in ado-

               lescent development. Child and adolescent psychiatry and mental health, 9, 9.

               https://doi.org/10.1186/s13034-015-0042-y




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              children of color (See, e.g., G. Rider et al. (2018), Health and Care Utilization of

               Transgender/Gender Non-Conforming Youth: A Population Based Study, Pediat-

               rics at 4, DOI: 10.1542/peds.2017-1683.

              children with mental developmental disabilities (See, e.g., Bedard, C., Zhang,

               H.L. & Zucker, K.J. Gender Identity and Sexual Orientation in People with De-

               velopmental Disabilities. Sex Disabil 28, 165–175 (2010).

               https://doi.org/10.1007/s11195-010-9155-7

              children on the autistic spectrum (See, e.g., de Vries, A. L., Noens, I. L., Cohen-

               Kettenis, P. T., van Berckelaer-Onnes, I. A. & Doreleijers, T. A. Autism spectrum

               disorders in gender dysphoric children and adolescents. J Autism Dev Disord 40,

               930-936, doi:10.1007/s10803-010-0935-9 (2010).

              children residing in foster care homes and adopted children (See, e.g., See e.g., D.

               Shumer et al. (2017), Overrepresentation of Adopted Adolescents at a Hospital-

               Based Gender Dysphoria Clinic, Transgender Health Vol. 2(1).

     78. “GENDER AFFIRMATIVE” TREATMENTS DAMAGE or DESTROY HEALTHY

BODILY ORGANS, LEADING TO LOSS OF ESSENTIAL BODILY FUNCTIONS (e.g. Med-

ically Induced Sterilization): Despite the fact that gender dysphoria represents a psychological

condition (as catalogued in the DSM since the third edition of this publication), some conceptu-

alize the condition as a medical illness similar to cancer. When considered from this viewpoint,

the goal of “treatment” is to alter the appearance of the body to conform to a patient’s perceived

sexual identity, including the physical removal of unwanted “diseased” sexual organs. Since un-

desired body parts are fully formed and functional prior to hormonal or surgical intervention, the




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result of these “therapies” is injury to innate sexual ability. In particular, loss or alteration of pri-

mary sexual organs leads directly to impairment of reproductive potential. Recognition of this

obvious consequence is the basis for the development of new arenas of medical practice where

there is an attempt to restore what has been intentionally destroyed. See, e.g., Ainsworth AJ, Al-

lyse M, Khan Z. Fertility Preservation for Transgender Individuals: A Review. Mayo Clin Proc.

2020 Apr; 95(4):784-792. doi: 10.1016/j.mayocp.2019.10.040. Epub 2020 Feb 27. PMID:

32115195. As correctly noted by Dr. Levine, gender dysphoria is unique in that it is “the only

psychiatric condition to be treated by surgery, even though no endocrine or surgical intervention

package corrects any identified biological abnormality.” See, e.g., S. Levine (2016), Reflections

on the Legal Battles Over Prisoners with Gender Dysphoria, J. American Academy of Psychiatry

and Law, 44, 236 at 238 (“Reflections”), at 240.)

      79. A DEVELOPMENTAL MODEL PROVIDES ALTERNATIVE HYPOTHESES TO

THE UNEXAMINED “AFFIRMATON” MODEL: The diagnosis of “gender dysphoria” en-

compasses a diverse array of conditions. While the etiologic contributors to sex discordant gen-

der identity remain to be fully identified and characterized, differences both in kind and degree

within individuals and across varied populations creates challenges in establishing specific ap-

proaches to alleviate associated suffering. For example, data from adults cannot be assumed to

apply equally to children. Nor can data from children who present with sex discordant gender

pre-pubertally be presumed to apply to the growing number of post-pubertal adolescent females

presenting with this condition.

      80. NO COMPETENT, SCIENTIFICALLY VALID and RELIABLE COST-BENEFIT

ANALYSIS HAS BEEN DONE ON “GENDER AFFIRMATIVE” TREATMENTS. When the

FDA tests a drug, the safety analysis looks at all related risks. Specifically, the drug must not




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only be effective, but it must not cause side effects that are more damaging than the proposed

treatment. This is one of the gender transition industry’s key weaknesses. Not only have the

“treatments” not been proven reliably effective compared to no treatment, they are designed with

existing knowledge of well-documented, long-term health problems and damages (e.g., testos-

terone use by transgender men increases the risk of fatal heart disease, estrogen use by

transgender women increases risk of blood clots and strokes, gender transition industry treat-

ments—if completed—can cause life-long sterility, etc.).

      81. LACK OF INTEGRATION OF CARE BY PROVIDERS IN THE GENDER TRAN-

SITION INDUSTRY INCREASES DANGERS TO PATIENTS: It is too often the case in the

gender transition industry that “nobody is in charge” of a patient’s care. The mental health pro-

fessionals know little about the risks of surgery and the surgeons know little about the defects in

mental health methodologies and the endocrinologists are only following the hormonal treat-

ments and many are not aware of the serious methodological research defects in this field. Such

disjointed care can increase dangers to patients. On cases showing such a lack of integration and

uncertain chain of command, reliable measurements of the divergent, multi-disciplinary risks to

patients of these treatments (e.g. hormones, incomplete therapy, or surgical side effects) are pre-

cluded and too often ignored. The plaintiffs’ expert witness reports in this case appear to ignore

this issue.

      82. SUMMARY OPINIONS:

                 There are no long-term, peer-reviewed published, reliable and valid, research

                  studies documenting the number or percentage of patients receiving gender af-

                  firming medical interventions who are helped by such procedures.




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         There are no long-term, peer-reviewed published, reliable and valid, research

          studies documenting the number or percentage of patients receiving gender af-

          firming medical interventions who are injured or harmed by such procedures.

         There are no long-term, peer-reviewed published, reliable and valid, research

          studies documenting the reliability and validity of assessing gender identity by re-

          lying solely upon the expressed desires of a patient.

         There are no long-term, peer-reviewed published, reliable and valid, research

          studies documenting any valid and reliable biological, medical, surgical, radiolog-

          ical, psychological, or other objective assessment of gender identity or gender

          dysphoria.

         A currently unknown percentage and number of patients reporting gender dyspho-

          ria suffer from mental illness(es) that complicate and may distort their judgments

          and perceptions of gender identity.

         A currently unknown percentage and number of patients reporting gender dyspho-

          ria are being manipulated by a—peer group, social media, YouTube role model-

          ing, and/or parental—social contagion and social pressure processes.

         Patients suffering from gender dysphoria or related issues have a right to be pro-

          tected from experimental, potentially harmful treatments lacking reliable and

          valid, peer reviewed, published, long-term scientific evidence of safety and effec-

          tiveness.

         It would be a serious violation of licensing rules, ethical rules, and professional

          standards of care for a health care professional to provide gender transition or re-

          lated procedures to any patient without first properly obtaining informed consent



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          including informing the patient and/or guardian(s) of the lack of valid and reliable

          on the long-term risks and benefits of “affirmation” treatments.

         A large percentage of children (over 80% in some studies) who questioned their

          gender identity will, if left alone, develop an acceptance of their natal (biological)

          sex.

         Medical treatments may differ significantly by sex according to chromosomal as-

          sessment but not gender identity. Misinforming physicians of a patient’s biologi-

          cal sex can have deleterious effects on treatment for medical conditions.

         Affirmation medical treatments—hormones and surgery—for gender dysphoria

          and “transitioning” have not been accepted by the relevant scientific communities

          (biology, genetics, neonatolgy, medicine, psychology, etc).

         Gender transition “affirmation” medical assessments and treatments—hormones

          and surgery—for gender dysphoria and “transitioning” have no known, peer re-

          viewed and published error rates—the treatments and assessment methods lack

          demonstrated, reliable and valid error rates.

         Political activists, political activist physicians, and politically active medical or-

          ganizations that operate by voting methodologies (e.g, WPATH, the American

          Medical Association, the American Academy of Pediatrics, the American Endo-

          crine Society) are not the relevant scientific community, they are politically active

          professional organizations. These organizations operate via consensus-seeking

          methodology (voting) and political ideologies rather than evidence-based scien-

          tific methodologies.




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                                          Curriculum Vitae
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               St Louis MO 63110

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Present Position

Associate Professor of Pediatrics, Endocrinology and Diabetes
Associate Professor of Pediatrics, Cell Biology & Physiology

Education

1987           BS, Chemistry, Marquette University, Milwaukee, WI
1993           PhD, Biochemistry, Medical College of Wisconsin, Milwaukee, WI
               Elucidation of Structural, Mechanistic, and Regulatory Elements in 3-Hydroxy-3-
               Methlyglutaryl-Coenzyme A Lyase, Henry Miziorko
1994           MD, Medicine, Medical College of Wisconsin, Milwaukee, WI
1994 - 1997    Pediatric Residency, University of Washington, Seattle, Washington
1997 - 2000    Pediatric Endocrinology Fellowship, Washington University, Saint Louis, MO
2017           Certification in Healthcare Ethics, National Catholic Bioethics Center, Philadelphia, PA

Academic Positions / Employment

1996 - 1997    Locum Tenens Physician, Group Health of Puget Sound Eastside Hospital, Group Health of
               Puget Sound Eastside Hospital, Seattle , WA
2000 - 2003    Instructor in Pediatrics, Endocrinology and Diabetes, Washington University in St. Louis, St.
               Louis, MO
2003 - 2011    Assistant Professor of Pediatrics, Endocrinology and Diabetes, Washington University in St.
               Louis, St. Louis, MO
2004 - 2011    Assistant Professor of Pediatrics, Cell Biology & Physiology, Washington University in St.
               Louis, St. Louis, MO
2011 - Pres    Associate Professor of Pediatrics, Cell Biology & Physiology, Washington University in St.
               Louis, St. Louis, MO
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2011 - Pres    Associate Professor of Pediatrics, Endocrinology and Diabetes, Washington University in St.
               Louis, St. Louis, MO
2012 - 2017    Division Chief, Endocrinology and Diabetes, Washington University in St. Louis, St. Louis,
               MO

Clinical Title and Responsibilities

               General Pediatrician, General Pediatric Ward Attending: 2-4 weeks per year, St. Louis
               Children's Hospital
2000 - Pres    Pediatric Endocrinologist, Endocrinology Night Telephone Consult Service: Average of 2-6
               weeks/per yr, St. Louis Children's Hosptial
2000 - Pres    Pediatric Endocrinologist, Inpatient Endocrinology Consult Service: 3-6 weeks per year, St.
               Louis Children's Hospital
2000 - Pres    Pediatric Endocrinologist, Outpatient Endocrinology Clinic: Approximately 50 patient visits
               per month, St. Louis Children's Hospital

Teaching Title and Responsibilities

2009 - Pres    Lecturer, Markey Course-Diabetes Module
2020 - 2020    Facilitator, Reading Elective-Interdisciplinary/Miscellaneous Course #M80-800, Washington
               University School of Medicine

University, School of Medicine and Hospital Appointments and Committees

University
2012 - 2020    Disorders of Sexual Development Multidisciplinary Care Program

School of Medicine
2013 - 2020    Molecular Cell Biology Graduate Student Admissions Committee
2014 - Pres    Research Consultant, ICTS Research Forum - Child Health

Hospital
2000 - Pres    Attending Physician, St. Louis Children's Hospital

Medical Licensure and Certifications

1997 - Pres    Board Certified in General Pediatrics
2000 - Pres    MO Stae License #2000155004
2001 - Pres    Board Certified in Pediatric Endocrinology & Metabolism

Honors and Awards

1987           National Institute of Chemists Research and Recognition Award
1987           Phi Beta Kappa
1987           Phi Lambda Upsilon (Honorary Chemical Society)
1988           American Heart Association Predoctoral Fellowship Award
1994           Alpha Omega Alpha
1994           Armond J. Quick Award for Excellence in Biochemistry
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1994           NIDDK/Diabetes Branch Most Outstanding Resident
1998           Pfizer Postdoctoral Fellowship Award
2002           Scholar, Child Health Research Center of Excellence in Developmental Biology at
               Washington University
2013           Julio V Santiago, M.D. Scholar in Pediatrics
2017           Redemptor Hominis Award for Outstanding Contributions to the Study of Bioethics
2018           Eli Lilly Outstanding Contribution to Drug Discovery: Emerging Biology Award
2018           Scholar-Innovator Award, Harrington Discovery Institute
2021           Linacre Award

Editorial Responsibilities

Editorial Ad Hoc Reviews
               AIDS
               AIDS Research and Human Retroviruses
               American Journal of Pathology
               American Journal of Physiology
               British Journal of Pharmacology
               Circulation Research
               Clinical Pharmacology & Therapeutics
               Comparative Biochemistry and Physiology
               Diabetes
               Experimental Biology and Medicine
               Future Virology
               Journal of Antimicrobial Chemotherapy
               Journal of Clinical Endocrinology & Metabolism
               Journal of Molecular and Cellular Cardiology
               Obesity Research
2000 - Pres    Journal of Biological Chemistry
2013 - Pres    PlosOne
2016 - Pres    Scientific Reports
2018 - Pres    Nutrients

Editorial Boards
2014 - 2015    Endocrinology and Metabolism Clinics of North America

National Panels, Committees

2017 - Pres    Consultant, Catholic Health Association
2021 - Pres    Consulting Fellow, National Catholic Bioethics Center

National Boards

2020 - Pres    WU ICTS Clinical and Translational Research Funding Program (CTRFP) Review Committee
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Community Service Contributions

Professional Societies and Organizations
1992 - 2004     American Medical Association
1994 - 2005     American Academy of Pediatrics
1995 - 2014     American Association for the Advancement of Science
1998 - Pres     American Diabetes Association
1998 - Pres     Endocrine Society
1999 - Pres     Pediatric Endocrine Society
2004 - 2007     American Chemical Society
2004 - 2018     American Society for Biochemistry and Molecular Biology
2004 - 2020     Society for Pediatric Research
2005 - 2020     Full Fellow of the American Academy of Pediatrics
2013 - Pres     International Society for Pediatric and Adolescent Diabetes
2018 - Pres     American College of Pediatricians

Major Invited Professorships and Lectures

2002            Pediatric Grand Rounds, St. Louis Children's Hospital, St Louis, MO
2004            National Disease Research Interchange, Human Islet Cell Research Conference, Philadelphia,
                PA
2004            NIDA-NIH Sponsored National Meeting on Hormones, Drug Abuse and Infections, Bethesda,
                MD
2005            Endocrine Grand Rounds, University of Indiana, Indianapolis, IN
2005            The Collaborative Institute of Virology, Complications Committee Meeting, Boston, MA
2006            Metabolic Syndrome Advisory Board Meeting, Bristol-Meyers Squibb, Pennington, NJ
2007            American Heart Association and American Academy of HIV Medicine State of the Science
                Conference: Initiative to Decrease Cardiovascular Risk and Increase Quality of Care for
                Patients Living with HIV/AIDS, Chicago, IL
2007            Minority Access to Research Careers Seminar, University of Arizona, Tucson, AZ
2007            MSTP Annual Visiting Alumnus Lecture, Medical College of Wisconsin , Milwaukee, WI
2007            Pediatric Grand Rounds, St Louis Children’s Hospital, St Louis, MO
2008            Division of Endocrinology, Diabetes and Nutrition Grand Rounds, Boston University, Boston,
                MA
2009            Pediatric Grand Rounds, St Louis Children's Hospital, St. Louis, MO
2010            American Diabetes Association Scientific Sessions, Symposium Lecture Orlando, FL
2010            School of Biological Sciences Conference Series, University of Missouri Kansas City, Kansas
                City, MO
2011            Life Cycle Management Advisory Board Meeting, Bristol-Myers Squibb,, Chicago, IL
2013            Pediatric Grand Rounds, St Louis Children's Hospital, ST LOUIS, MO
2013            Clinical Practice Update Lecture, St Louis Children's Hospital, St Louis, MO
2014            Pediatric Academic Societies Meeting,, Vancouver, Canada
2014            American Diabetes Association 74th Scientific Sessions, , San Francisco, CA
2017            Division of Pediatric Endocrinology Metabolism Rounds, University of Michigan, Ann Arbor,
                MI
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2017          Catholic Medical Association National Conference, Denver, CO
2018          Obstetrics, Gynecology & Women's Health Grand Rounds, Saint Louis University, St. Louis,
              MO
2018          Medical Grand Rounds, Sindicato Médico del Uruguay, Montevideo, Uraquay
2018          Internal Medicine Grand Rounds, Texas Tech , Lubbock, TX
2019          Veritas Center for Ethics in Public Life Conference, Franciscan University, Steubenville, OH
2019          MaterCare International Conference, Rome, Italy
2019          Child Health Policy Forum, Notre Dame University, South Bend , IN
2021          Obstetrics & Gynecology Grand Rounds, University of Tennessee, Knoxville , TN

Consulting Relationships and Board Memberships

1996 - 2012   Consultant, Bristol Myers Squibb
1997 - 2012   Consultant, Gilead Sciences

Research Support

Completed Governmental Support
2001 - 2006   K-08 A149747, NIH
              Mechanism of GLUT4 Inhibition by HIV Protease Inhibitors
              Role: Principal Investigator
2007 - 2012   R01
              Mechanisms for Altered Glucose Homeostasis During HAART
              Role: Principal Investigator
              Total cost: $800,000.00
2009 - 2011   R01 Student Supp
              Mechanisms for Altered Glucose Homeostasis During HAART
              Role: Principal Investigator
              Total cost: $25,128.00
2009 - 2014   R01
              Direct Effects of Antiretroviral Therapy on Cardiac Energy Homeostasis
              Role: Principal Investigator
              Total cost: $1,250,000.00
2017 - 2019   R-21 1R21AI130584 , National Institutes of Health
              SELECTIVE INHIBITION OF THE P. FALCIPARUM GLUCOSE TRANSPORTER PFHT
              Role: Principal Investigator
              Total cost: $228,750.00

Completed Non-Governmental Support
2015          Novel HIV Protease Inhibitors and GLUT4
              Role: Principal Investigator
2008 - 2011   II
              Insulin Resistance and Myocardial Glucose Metabolism in Pediatric Heart Failure
              Role: Co-Investigator
              PI: Hruz
              Total cost: $249,999.00
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2009 - 2012     Research Program
                Regulation of GLUT4 Intrinsic Activity
                Role: Principal Investigator
                Total cost: $268,262.00
2010 - 2011     Protective Effect of Saxagliptin on a Progressive Deterioration of Cardiovascular Function
                Role: Principal Investigator
2012 - 2015     II
                Solution-State NMR Structure and Dynamics of Facilitative Glucose Transport Proteins
                Role: Principal Investigator
                Total cost: $375,000.00
2017 - 2020     Prevention And Treatment Of Hepatic Steatosis Through Selective Targeting Of GLUT8
                Role: Co-Principal Investigator
                PI: DeBosch
                Total cost: $450,000.00
2017 - 2021     Matching Micro Grant
                Novel Treatment of Fatty Liver Disease (CDD/LEAP)
                Role: Principal Investigator
                Total cost: $68,500.00
2018 - 2021     LEAP Innovator Challenge
                Novel Treatment of Fatty Liver Disease
                Role: Principal Investigator
                Total cost: $68,500.00
2019 - 2021     Scholar-Innovator Award HDI2019-SI-4555 , Harrington Foundation
                Novel Treatment of Non-Alcoholic Fatty Liver Disease
                Role: Principal Investigator
                Total cost: $379,000.00

Current Governmental Support
2021 - 2025     R-01 DK126622 (Co-investigator), 8/25/2021-7/31/2025, NIH-NIDDK, , NIH
                Leveraging glucose transport and the adaptive fasting response to modulate hepatic
                metabolism
                Role: Co-Investigator
                PI: DeBosch

Pending Non-Governmental Support
2015            Novel HIV Protease Inhibitors and GLUT4
                Role: Principal Investigator

Trainee/Mentee/Sponsorship Record

Current Trainees
2019            Ava Suda, Other, Pre-med

Past Trainees
2002 - 2002     Nishant Raj- Undergraduate Student, Other
                Study area: Researcher
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2002 - 2010   Joseph Koster, PhD, Postdoctoral Fellow
              Study area: Researcher
2003 - 2004   Johann Hertel, Medical Student
              Study area: Research
              Present position: Assistant Professor, University of North Carolina, Chapel Hill, NC
2003 - 2003   John Paul Shen, Medical Student
              Study area: Research
2004 - 2005   Carl Cassel- High School Student, Other
              Study area: Research
2004 - 2004   Christopher Hawkins- Undergraduate Student, Other
              Study area: Researcher
2004 - 2004   Kaiming Wu- High School Student, Other
              Study area: Research
2005 - 2005   Helena Johnson, Graduate Student
2005 - 2005   Jeremy Etzkorn, Medical Student
              Study area: Researcher
2005 - 2005   Dominic Doran, DSc, Postdoctoral Fellow
              Study area: HIV Protease Inhibitor Effects on Exercize Tolerance
2006 - 2006   Ramon Jin, Graduate Student
              Study area: Research
2006 - 2006   Taekyung Kim, Graduate Student
              Study area: Research
2007 - 2007   Jan Freiss- Undergraduate Student, Other
              Study area: Researcher
2007 - 2008   Kai-Chien Yang, Graduate Student
              Study area: Research
              Present position: Postdoctoral Research Associate, University of Chicago
2007 - 2007   Paul Buske, Graduate Student
              Study area: Research
2007 - 2007   Randy Colvin, Medical Student
              Study area: Researcher
2008 - 2011   Arpita Vyas, MD, Clinical Fellow
              Study area: Research
              Present position: Assistant Professor, Michigan State University, Lansing MI
2008 - 2009   Candace Reno, Graduate Student
              Study area: Research
              Present position: Research Associate, University of Utah
2008 - 2012   Dennis Woo- Undergraduate Student, Other
              Study area: Researcher
              Present position: MSTP Student, USC, Los Angeles CA
2008 - 2008   Temitope Aiyejorun, Graduate Student
              Study area: Research
2009 - 2009   Anne-Sophie Stolle- Undergraduate Student, Other
              Study area: Research
2009 - 2009   Matthew Hruz- High School Student, Other
              Study area: Research
              Present position: Computer Programmer, Consumer Affairs, Tulsa OK
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2009 - 2009     Stephanie Scherer, Graduate Student
                Study area: Research
2010 - 2014     Lauren Flessner, PhD, Postdoctoral Fellow
                Present position: Instructor, Syracuse University
2010 - 2010     Constance Haufe- Undergraduate Student, Other
                Study area: Researcher
2010 - 2011     Corinna Wilde- Undergraduate Student, Other
                Study area: Researcher
2010 - 2010     Samuel Lite- High School Student, Other
                Study area: Research
2011 - 2016     Thomas Kraft, Graduate Student
                Study area: Glucose transporter structure/function
                Present position: Postdoctoral Fellow, Roche, Penzberg, Germany
2011 - 2011     Amanda Koenig- High School Student, Other
                Study area: Research
2011 - 2012     Lisa Becker- Undergraduate Student, Other
2011 - 2011     Melissa Al-Jaoude- High School Students, Other
2014 - 2014     David Hannibal, Clinical Research Trainee

Bibliography

A. Journal Articles
     1. Hruz PW, Narasimhan C, Miziorko HM. 3-Hydroxy-3-methylglutaryl coenzyme A lyase: affinity
        labeling of the Pseudomonas mevalonii enzyme and assignment of cysteine-237 to the active site.
        Biochemistry. 1992;31(29):6842-7. PMID:1637819
     2. Hruz PW, Miziorko HM. Avian 3-hydroxy-3-methylglutaryl-CoA lyase: sensitivity of enzyme
        activity to thiol/disulfide exchange and identification of proximal reactive cysteines. Protein Sci.
        1992;1(9):1144-53. doi:10.1002/pro.5560010908 PMCID:PMC2142181 PMID:1304393
     3. Mitchell GA, Robert MF, Hruz PW, Wang S, Fontaine G, Behnke CE, Mende-Mueller LM,
        Schappert K, Lee C, Gibson KM, Miziorko HM. 3-Hydroxy-3-methylglutaryl coenzyme A lyase
        (HL). Cloning of human and chicken liver HL cDNAs and characterization of a mutation causing
        human HL deficiency. J Biol Chem. 1993;268(6):4376-81. PMID:8440722
     4. Hruz PW, Anderson VE, Miziorko HM. 3-Hydroxy-3-methylglutaryldithio-CoA: utility of an
        alternative substrate in elucidation of a role for HMG-CoA lyase's cation activator. Biochim Biophys
        Acta. 1993;1162(1-2):149-54. PMID:8095409
     5. Roberts JR, Narasimhan C, Hruz PW, Mitchell GA, Miziorko HM. 3-Hydroxy-3-methylglutaryl-CoA
        lyase: expression and isolation of the recombinant human enzyme and investigation of a mechanism
        for regulation of enzyme activity. J Biol Chem. 1994;269(27):17841-6. PMID:8027038
     6. Hruz PW, Mueckler MM. Cysteine-scanning mutagenesis of transmembrane segment 7 of the
        GLUT1 glucose transporter. J Biol Chem. 1999;274(51):36176-80. PMID:10593902
     7. Murata H, Hruz PW, Mueckler M. The mechanism of insulin resistance caused by HIV protease
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     9. Hruz PW, Mueckler MM. Structural analysis of the GLUT1 facilitative glucose transporter (review).
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11. Hruz PW, Murata H, Qiu H, Mueckler M. Indinavir induces acute and reversible peripheral insulin
    resistance in rats. Diabetes. 2002;51(4):937-42. PMID:11916910
12. Murata H, Hruz PW, Mueckler M. Indinavir inhibits the glucose transporter isoform Glut4 at
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13. Koster JC, Remedi MS, Qiu H, Nichols CG, Hruz PW. HIV protease inhibitors acutely impair
    glucose-stimulated insulin release. Diabetes. 2003;52(7):1695-
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18. Hruz PW. Molecular Mechanisms for Altered Glucose Homeostasis in HIV Infection. Am J Infect
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19. Turmelle YP, Shikapwashya O, Tu S, Hruz PW, Yan Q, Rudnick DA. Rosiglitazone inhibits mouse
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    decompensated heart failure in a mouse model of dilated cardiomyopathy. FASEB J.
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    disruption of myostatin reduces the development of proatherogenic dyslipidemia and atherogenic
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        transporter PfHT and assessment of ligand access to the glucose permeation pathway via FLAG-
        mediated protein engineering. PLoS One.
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        Promoting Clostridioides difficile Infection in Mice. Gastroenterology. 2020;158(5):1402-
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    50. Malone WJ, Hruz PW, Mason JW, Beck S. Letter to the Editor from William J. Malone: "Proper Care
        of Transgender and Gender Diverse Persons in the Setting of Proposed Discrimination: A Policy
        Perspective". J Clin Endocrinol Metab. 2021. PMID:33772300

C2. Chapters
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     2. Paul W Hruz. Medical Approaches to Alleviating Gender Dysphoria In: Edward J Furton, eds.
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C4. Invited Publications
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     1. Grunfeld C, Kotler DP, Arnett DK, Falutz JM, Haffner SM, Hruz P, Masur H, Meigs JB, Mulligan K,
        Reiss P, Samaras K, Working Group 1. Contribution of metabolic and anthropometric abnormalities
        to cardiovascular disease risk factors. Circulation. 2008;118(2):e20-8. PMCID: PMC3170411 PMID:
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     2. Hruz PW. HIV protease inhibitors and insulin resistance: lessons from in-vitro, rodent and healthy
        human volunteer models. Curr Opin HIV AIDS. 2008;3(6):660-5. PMCID: PMC2680222 PMID:
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     3. Hruz PW. Molecular mechanisms for insulin resistance in treated HIV-infection. Best Pract Res Clin
        Endocrinol Metab. 2011;25(3):459-68. PMCID: PMC3115529 PMID: 21663839
     4. Hruz PW. HIV and endocrine disorders. Endocrinol Metab Clin North Am. 2014;43(3): xvii–xviii.
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     5. Hruz PW. Commentary. Clin Chem. 2015;61(12):1444. PMID: 26614228
     6. Hruz PW, Mayer LS, and McHugh PR. Growing Pains: Problems with Pubertal Suppression in
        Treating Gender Dysphoria The New Atlantis. 2017;52:3-36.
     7. Hruz, PW. The Use of Cross-Sex Steroids in Treating Gender Dysphoria Natl Cathol Bioeth Q.
        2018;17(4):1-11.
     8. Hruz, PW. Experimental Approaches to Alleviating Gender Dysphoria in Children Nat Cathol Bioeth
        Q. 2019;19(1):89-104.

                                      Clinician Educator Portfolio
CLINICAL CONTRIBUTIONS
Summaries of ongoing clinical activities

                  General Pediatrician, General Pediatric Ward Attending: 2-4 weeks per year, St. Louis
                  Children's Hospital
2000 - Pres       Pediatric Endocrinologist, Endocrinology Night Telephone Consult Service: Average of 2-6
                  weeks/per yr, St. Louis Children's Hosptial
2000 - Pres       Pediatric Endocrinologist, Inpatient Endocrinology Consult Service: 3-6 weeks per year, St.
                  Louis Children's Hospital
2000 - Pres       Pediatric Endocrinologist, Outpatient Endocrinology Clinic: Approximately 50 patient visits
                  per month, St. Louis Children's Hospital

EDUCATIONAL CONTRIBUTIONS
Direct teaching

Classroom
2009 - Pres       Lecturer, Markey Course-Diabetes Module
2020 - 2020       Facilitator, Reading Elective-Interdisciplinary/Miscellaneous Course #M80-800, Washington
                  University School of Medicine

Clinical
2000 - Pres       Lecturer, Medical Student Growth Lecture (Women and Children's Health Rotation): Variable
2000 - Pres       Lecturer, Pediatric Endocrinology Journal Club: Presentations yearly
2009 - Pres       Facilitator, Medical Student Endocrinology and Metabolism Course, Small group
2016 - Pres       Facilitator, Medical Student Endocrinology and Metabolism Course, Small group
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Other
               Facilitator, Cell Biology Graduate Student Journal Club, 4 hour/year
               Facilitator, Discussion: Pituitary, Growth & Gonadal Cases, 2 hours/year
2000 - Pres    Lecturer, Metabolism Clinical Rounds/Research Seminar: Presentations twice yearly
2009 - Pres    Facilitator, Biology 5011- Ethics and Research Science, 6 hours/year
2016 - Pres    Lecturer, Cell Signaling Course, Diabetes module, 3 hours/year

ANNUAL SUMMARIES
OTHER
Participated in research studies

Pres           Development of Novel Small Molecule Hexose Transport Inhibitors for Glucose-Dependent
               Disesases Paul W Hruz.
